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                Exhibit 1
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                                 SETTLEMENT AGREEMENT

          This Class Action Settlement Agreement (“Settlement Agreement”) is made and entered

 into by and among Plaintiffs Amber Wood, Thomas Weiner, Karen Burke, Nick Gizzarelli, Guy

 West, Kyle Davis, Rebekah Aeren Wright, Catherine Coppinger, Kimberly Eager, Roberto

 Hernandez, Mikaelyn McDowell, Rosalind Burks, Holly Hickman, Amber Portugal, Michael

 Sanchez, Adam Dyer, Arteal Jordan, Vivien Nagy, Katlyn Wills, Cheryl Miller, Kelly Johnson,

 Holly Kundel, Ryan Hall, Danielle Coates, Kelsey Williams, Daniel Scott, Ryan Graham, Robert

 Johnston, Deborah Johnston, Michelle Schmid, Nathaneal Romanchuk, Nicolette Watson, Desiree

 Tarro, Pamela Anderson, Caren Christman, Joshua Caples, Luis Munoz, Sherri McCall, Krishawn

 Durham, Katie Kuczkowski, Daniel McGorrey, and Tera Castillo (collectively “Plaintiffs” or

 “Class Representatives”), through their undersigned counsel, and Defendant FCA US LLC

 (“FCA US” or “Defendant”) (Plaintiffs and FCA US are collectively referred to as the “Parties”),

 subject to the approval of the Court.

                                         I.     RECITALS

          WHEREAS, Plaintiffs filed nine class actions alleging that certain Chrysler, Dodge, Jeep,

 Ram and Fiat vehicles equipped with a 2.4L Tigershark engine were manufactured, marketed, sold,

 and leased with a defect that caused these vehicles to consume excessive amounts of engine oil

 which can result in engines shutting down without warning and releasing excessive oil into the

 exhaust system leading to excess emissions, and that FCA US sold these vehicles knowing of the

 safety risks posed by the defect and that it would be material to a reasonable consumer;

          WHEREAS, those cases were styled as Krishawn Durham v. Fiat Chrysler Automobiles,

 N.V., et al., Case No. 5:20-cv-11040 (E.D.Mich., filed Apr. 27, 2020); Amber Wood, et al. v.

 FCA US LLC, Case No. 2:20-CV-11054 (E.D.Mich., filed Apr. 29, 2020); Nicolette Watson v.

 FCA US LLC, Case No. 2:20-cv-11069 (E.D.Mich., filed May 1, 2020); Michelle Schmid, et al. v.


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 FCA US LLC, Case No. 2:20-cv-11090 (E.D.Mich., filed May 5, 2020); Kyle Davis, et al. v.

 FCA US LLC, Case No. 2:20-cv-11223-RHC-MJH (E.D.Mich., filed May 18, 2020); Nathanael

 Romanchuk, et al. v. FCA US LLC, Case No. 2:20-cv-11233 (E.D.Mich., filed May 19, 2020);

 Nick Gizzarelli, et al. v. FCA US LLC, Case No. 5:20-cv-11442-JEL-APP (E.D.Mich., filed June

 3, 2020); Caren Christman v. FCA US LLC, Case No. 2:20-cv-11480 (E.D.Mich., filed June 5,

 2020); Thomas Weiner v. FCA US LLC, Case No. 5:20-cv-11968-SFC-EAS (E.D.Mich., filed July

 21, 2020);

          WHEREAS, on August 6, 2020, pursuant to a stipulation by the Parties, the Court

 consolidated the foregoing cases with the case captioned Amber Wood v. FCA US LLC, No. 5:20-

 cv-11054 (E.D.Mich.) for all purposes, including trial;

          WHEREAS, on September 4, 2020, the Court appointed the law firms of The Miller Law

 Firm P.C., Hagens Berman Sobol Shapiro, LLP, and McGuire Law P.C. as interim class counsel.

 The Court also appointed McCuneWright, LLP, Berger Montague, PC, and Sauder Schelkopf to

 the Plaintiffs’ Steering Committee (ECF No. 32.);

          WHEREAS, on October 21, 2020, Plaintiffs filed a Consolidated Master Class Action

 Complaint and Demand for Jury Trial (ECF No. 41);

          WHEREAS, following the consolidation of the cases, counsel for the Parties met and

 conferred regarding Plaintiffs’ allegations and FCA US’s defenses, and to explore the potential for

 resolution of the Action;

          WHEREAS, the Parties then engaged in extensive arm’s-length settlement negotiations

 over the next several months, including three mediation sessions;

          WHEREAS, those negotiations were informed by FCA US’s production of documents and

 the Parties’ exchanges of information, and were supervised by Hon. Layn R. Phillips (Ret.);




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          WHEREAS, after carefully considering the facts and applicable law and the risks, expense,

 and uncertainty of continued litigation, and after having engaged in extensive negotiations, the

 Parties agree that it is in their mutual best interests to resolve the claims in this Action with respect

 to any allegation of excessive oil consumption in the Settlement Class Vehicles on fair, reasonable,

 and adequate terms as set forth in this Settlement Agreement;

          WHEREAS, the Parties agree that neither this Settlement Agreement nor the underlying

 settlement shall constitute or be construed as any admission of liability or wrongdoing on the part

 of FCA US, which FCA US expressly denies;

          WHEREAS, the Parties are entering into this Settlement Agreement to avoid the risks,

 burdens, and expense of continued litigation;

          WHEREAS, each Plaintiff and Defendant has independently determined that it is desirable

 and beneficial for the Action to be fully and finally resolved in the manner and upon the terms and

 conditions set forth in this Settlement Agreement;

          WHEREAS, on August 25, 2021, the Parties reached an agreement in principle on terms

 and conditions of settlement and drafted a term sheet;

          WHEREAS, the Parties continued settlement discussions over the following months,

 resulting in certain modifications and enhancements to the proposed settlement;

          WHEREAS, the Parties have continued to negotiate the final portions of this Settlement

 Agreement including fees and administrative matters; and

          WHEREAS, the Parties, by and through their respective undersigned counsel, have agreed

 to this Settlement Agreement on the terms and conditions set forth below.

          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

 Plaintiffs (for themselves and the Class Members) and FCA US, by and through their counsel, that,




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 subject to the approval of the Court, the Action and the Released Claims will be compromised and

 settled, and have judgment entered, on the terms and conditions set forth below.

                                        II.    DEFINITIONS

          Whenever the following capitalized terms are used in this Settlement Agreement and in the

 attached Exhibits (in addition to any definitions provided elsewhere in this Settlement Agreement),

 they shall have the following meanings:

          2.1      “2.4L Tigershark” means the 2.4-liter, four cylinder engine with which the Class

 Vehicles were factory equipped.

          2.2      “Action” means the consolidated lawsuits captioned under Amber Wood, et al. v.

 FCA US LLC, No. 5:20-cv-11054 (E.D.Mich.), inclusive of the underlying cases that were

 consolidated.

          2.3      “Administration Expenses” means the cost of the notice program relating to this

 Settlement Agreement and the costs of administering and processing of claims, disbursements of

 consideration and other necessary and reasonable expenses associated with administering the

 Settlement.

          2.4      “Attorneys’ Fees and Expenses” means the amount awarded by the Court to Co-

 Lead Class Counsel to compensate them, and any other attorneys for Plaintiffs or the Settlement

 Class, and is inclusive of all attorneys’ fees, costs, and expenses of any kind in connection with

 the Action and the underlying consolidated cases. Attorneys’ Fees and Expenses shall not, under

 any circumstances, exceed the sum of $7,500,000 (“Seven Million Five Hundred Thousand

 Dollars”). Attorneys’ Fees and Expenses shall be in addition to the benefits provided directly to

 the Settlement Class and shall not reduce or otherwise have any effect on the benefits made

 available to the Settlement Class. Attorneys’ Fees and Expenses shall not be meant to include the

 payment of service awards to settlement class representatives by FCA US, as discussed below.


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          2.5      “Claim” shall mean a request for reimbursement under this Settlement.

          2.6      “Claimant” is a Class Member or other person or entity eligible to make a Claim

 pursuant to this Settlement Agreement.

          2.7      “Claim Form” means a form used to make a Claim under this Settlement,

 substantially in the form attached hereto as Exhibit A.

          2.8      “Claims Period” means the time period during which a Class Member may submit

 a Claim Form, which shall be a period of ninety (90) days after entry of the Final Approval Order.

          2.9      “Class” or “Settlement Class” means:

          All individuals who purchased or leased in the United States one of the following
          vehicles equipped with a 2.4L Tigershark engine: model years 2015-2017
          Chrysler 200; model years 2013-2016 Dodge Dart; model years 2014-2019 Jeep
          Cherokee manufactured prior to July 2018; model years 2015-2018 Jeep
          Renegade; model years 2017-2018 Jeep Compass; model years 2015-2018 Ram
          Promaster City; and model years 2016-2018 Fiat 500x.

          Each member of the Settlement Class shall be referred to as a “Class Member.” Excluded

 from the Settlement Class are FCA US; any affiliate, parent, or subsidiary of FCA US; any entity

 in which FCA US has a controlling interest; any officer, director, or employee of FCA US; any

 successor or assign of FCA US; and any judge to whom this Action is assigned, his or her spouse;

 individuals and/or entities who validly and timely opt-out of the settlement; consumers or

 businesses that have purchased Class Vehicles previously deemed a total loss (i.e., salvage or

 junkyard vehicles) (subject to verification through Carfax or other means); and current or former

 owners of a Class Vehicles that previously released their claims in an individual settlement with

 FCA US with respect to the issues raised the Action.

          2.10     “Class Vehicle” means any of the following vehicles equipped with the 2.4L

 Tigershark engine: model years 2015–2017 Chrysler 200; model years 2013–2016 Dodge Dart;

 model years 2014–2019 Jeep Cherokee manufactured prior to July 2018; model years 2015–2018



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 Jeep Renegade; model years 2017–2018 Jeep Compass; model years 2015–2018 Ram Promaster

 City; and model years 2016–2018 Fiat 500x.

          2.11     “Co-Lead Class Counsel” means the law firms of Hagens Berman Sobol Shapiro

 LLP, The Miller Law Firm, PC, and McGuire Law, PC.

          2.12     “Court” refers to the United States District Court for the Eastern District of

 Michigan.

          2.13     “Customer Service Notification” or “CSN” means the documents issued by

 FCA US which provide authorized FCA US dealerships with the recommended oil consumption

 diagnostic and repair procedures for Settlement Class Vehicles, including specifically CSN W20,

 CSN W80, and CSN W84.

          2.14     “Escrow Account” means the escrow account designated and controlled by the

 Escrow Agent at one or more national banking institutions into which the Settlement Fund will be

 deposited for the benefit of Class Members.

          2.15     “Escrow Agent” means the Settlement Administrator or another neutral third party

 agreed to by the Parties.

          2.16     “Effective Date” means ten business days after the later of (a) the date upon which

 the time for seeking appellate review of the judgment (by appeal or otherwise) shall have expired;

 or (b) the date upon which the time for seeking appellate review of any appellate decision affirming

 the judgment (by appeal or otherwise) shall have expired and all appellate challenges to the

 judgment shall have been dismissed with prejudice without any person having further right to seek

 appellate review thereof (by appeal or otherwise).

          2.17     “Extended Warranty” means the terms of extended warranty coverage as described

 in Section III.A.




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          2.18     “Fairness Hearing” means the final hearing to be conducted by the Court on such

 date as the Court may order to determine the fairness, adequacy, and reasonableness of the

 Settlement in accordance with applicable jurisprudence, to be held after notice has been provided

 to the Settlement Class in accordance with this Settlement, and where the Court will: (a) determine

 whether to grant final approval to the certification of the Settlement Class; (b) determine whether

 to finally designate Plaintiffs as the representatives of the Settlement Class; (c) determine whether

 to finally designate Co-Lead Class Counsel as counsel for the Settlement Class; (d) determine

 whether to grant final approval to the Settlement; (e) rule on Co-Lead Class Counsel’s Application

 for a Fee and Expense Award; (f) rule on the Class Representatives’ Application for Class

 Representative Service Awards; and (g) consider whether to enter the Final Approval Order.

          2.19     “FCA US’s Counsel” means Thompson Coburn LLP, who are the attorneys of

 record representing FCA US.

          2.20     “In-Service Date” shall mean the date on which a Settlement Class Vehicle was

 delivered to either the original purchaser or the original lessee; or if the vehicle was first placed in

 service as a “demonstrator” or “company” car, on the date such vehicle was first placed in service.

          2.21     “Judgment” means the judgment to be entered by the Court in the Action finally

 approving this Settlement Agreement and dismissing the Action with prejudice.

          2.22     “Notice” means the notices to be sent to the Class as detailed below, substantially

 in the same form as Exhibits B and C.

          2.23     “Notice Date” means the date by which the Settlement Administrator completes the

 mailing of a copy of the Short-Form Notice by first class mail, postage prepaid, to each Class

 Member after first running the addresses of the Class Members through the National Change of




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 Address database. The Notice Date shall be no later than ninety (90) days after the Court enters

 the Preliminary Approval Order.

          2.24     “Oil Consumption Defect” means the alleged defect that causes the 2.4L Tigershark

 to burn off and/or consume abnormally high amounts of oil and which is alleged to result in engines

 shutting down without warning and releasing excessive oil into the exhaust system leading to

 excess emissions.

          2.25     “Preliminary Approval Order” means the order to be entered by the Court

 preliminarily approving the Settlement and directing that the Notice be given to the Class, which

 Preliminary Approval Order shall be without material alteration from Exhibit D attached hereto.

          2.26     “Proof of Repair-Related Expense” means the original or a copy of any

 document(s) generated at or around the time expense was incurred for a rental car or towing

 service, in direct conjunction with obtaining a Qualifying Repair, and which identifies the nature

 of the expense, the date the cost was incurred, and the dollar amount.

          2.27     “Qualifying Repair” means any type of repair, replacement, diagnosis, or

 inspection of a Class Vehicle due to excess oil consumption or symptoms associated with excess

 oil consumption, except for any repairs for which the Proof of Repair-Related Expense reflects

 that the repairs were plainly unrelated to excess oil consumption.

          2.28     “Released Claims” means any and all claims, causes of action, demands, debts,

 suits, liabilities, obligations, damages, actions, rights of action, remedies of any kind and/or causes

 of action of every nature and description, whether known or unknown, asserted or unasserted,

 foreseen or unforeseen, regardless of any legal theory, existing now or arising in the future, by

 Plaintiffs and any and all Class Members based on the Oil Consumption Defect in Class Vehicles,

 whether arising under statute (including a state lemon law), rule, regulation, common law or




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 equity, and including, but not limited to, any and all claims, causes of action, rights or entitlements

 under any federal, state, local or other statute, law, rule and/or regulation, any claims relating to

 violation of California Business and Professions Code Sections 17200-17209, California Business

 and Professions Code Section 17500, or the California Consumer Legal Remedies Act (California

 Civil Code Section 1750-1784), any consumer protection, consumer fraud, unfair business

 practices or deceptive trade practices laws, any legal or equitable theories, any claims or causes of

 action in tort, contract, products liability, negligence, fraud, misrepresentation, concealment,

 consumer protection, restitution, quasi contract, unjust enrichment, express warranty, implied

 warranty, secret warranty and/or any injuries, losses, damages or remedies of any kind, in law or

 in equity, under common law, statute, rule or regulation, including, but not limited to,

 compensatory damages, economic losses or damages, exemplary damages, punitive damages,

 statutory damages, restitution, recovery of attorneys’ fees or litigation costs, or any other legal or

 equitable relief. The Released Claims do not include claims for death, personal injuries, excess

 emissions unrelated to oil consumption issues, damage to tangible property other than a Class

 Vehicle, or subrogation. Nothing in this Settlement shall be construed as a waiver, release and/or

 compromise of any pending automobile lemon law lawsuit pertaining to the Oil Consumption

 Defect.

           2.29    “Releasees” shall mean jointly and severally, individually and collectively, the

 entities that marketed the Class Vehicles, entities that designed, developed, and/or disseminated

 advertisements for the Class Vehicles, FCA US, all affiliates of FCA US, and each of their

 respective future, present, and former direct and indirect parents, subsidiaries, affiliates, divisions,

 predecessors, successors, assigns, dealers, distributors, agents, principals, suppliers, vendors,

 issuers, licensees, and joint ventures, and their respective future, present, and former officers,




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 directors, employees, partners, general partners, limited partners, members, managers, agents,

 shareholders (in their capacity as shareholders) and legal representatives, and the predecessors,

 successors, heirs, executors, administrators, and assigns of each of the foregoing. As used in this

 paragraph, “affiliates” means entities controlling, controlled by, or under common control with a

 Releasee.

          2.30     “Service Awards” means the $1,000 to $3,000 (“One Thousand to Three Thousand

 Dollars”) that FCA US has agreed to pay to each of the Plaintiffs who have served as putative class

 representatives in the Action, upon finalization of this agreement and approval by the Court.

          2.31     “Settlement” means the settlement into which the Parties have entered to resolve

 the Action. The terms of the Settlement are as set forth in this Settlement Agreement and attached

 exhibits.

          2.32     “Settlement Administrator” means the third-party entity who has been selected by

 the Parties to administer the Settlement and the claims process.

          2.33     “Settlement Fund” means the sum of up to $8,000,000 (Eight Million Dollars) once

 funded pursuant to Section III.C, together with any interest and accretions thereto, which may be

 reduced by payments or deductions as provided herein or by Court order. The Settlement Fund

 will be used exclusively to pay Claims for Repair-Related Expenses pursuant to Section III.C

 below.

          2.34     “Settlement Website” shall mean the website created and maintained by the

 Settlement Administrator which will contain, among other things, the Notice and Claim Forms,

 and documents related to the settlement.

                             III.   SETTLEMENT CONSIDERATION

          In consideration for the Settlement, entry of judgment, and dismissal, and for the release

 provided herein, FCA US agrees to provide the following consideration to the Class:


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 A.       Extended Warranty.

          3.1      Beginning no later than the first day after the Effective Date, FCA US will extend

 its existing Powertrain Limited Warranty, applicable to the Class Vehicles, to cover the cost of all

 parts and labor needed to repair a condition caused by the Oil Consumption Defect, to a period of

 seven (7) years or one hundred thousand (100,000) miles (whichever occurs first) from the In-

 Service Date of the Class Vehicle. Except for the durational limits, the terms, conditions, and

 exclusions of the Powertrain Limited Warranty applicable to the Class Vehicles shall apply.

          3.2      The Extended Warranty follows the Class Vehicles and is not personal to any owner

 or lessee.

          3.3      The Class Members shall not be required to present the Notice, Claim Form, or any

 other Settlement-related document in order to receive warranty service at an authorized FCA US

 dealership.

          3.4      All rights otherwise available to owners and lessees under preexisting warranties

 will continue to remain available to Class Members notwithstanding the implementation of this

 Settlement. Nothing in this Settlement will be construed as diminishing or otherwise affecting any

 other express or implied warranties covering the Class Vehicles.

          3.5      FCA US may implement or continue to implement any additional customer

 satisfaction or goodwill policy, program, or procedure at their discretion, and may extend goodwill

 consideration to individual Class Members on a case-by-case basis, without regard to their

 entitlement to relief under the Settlement. No such goodwill decision by FCA US, however, shall

 act to deprive a Class Member or Claimant of the benefits available under the Settlement.

 B.       Product Improvements.

          3.6      FCA US acknowledges that the Customer Service Notifications it has implemented

 to remedy the Oil Consumption Defect, including specifically CSN W20, CSN W80, and


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 CSN W84, represent part of the consideration to the Class in exchange for the Settlement in this

 Action.

           3.7     All Class Members who are current owners or lessees of a Class Vehicle subject to

 CSN W20 and CSN W84 are entitled to bring their vehicle to any authorized FCA US dealership

 to have the Powertrain Control Module (PCM) or PCM and Transmission Control Module (TCM)

 reprogrammed to repair any Oil Consumption Defect that may exist in their Class Vehicle.

           3.8     All Class Members who are current owners or lessees of Class Vehicles subject to

 CSN W80 may have an oil consumption test performed, free of charge, by any authorized FCA US

 dealership. If the Class Vehicle fails the oil consumption test, the Class Member is entitled to have

 an authorized FCA US dealership replace the vehicle’s engine long block pursuant to CSN W80

 at no cost to the Class Member.

 C.        Claims Procedure—Repair-Related Reimbursements.

           3.9     In connection with CSN W20, CSN W80, and CSN W84, any Class Member who

 paid for a repair relating to the Oil Consumption Defect is entitled to submit a claim for

 reimbursement to www.fcarecallreimbursement.com. FCA US will provide to Co-Lead Class

 Counsel data, prior to the motion for preliminary approval and again prior to the motion for final

 approval, showing the number of claims submitted and the number of claims paid.

           3.10    FCA US will reimburse Class Members the costs of towing and repair-related

 transportation expenses such as a rental car (“Repair-Related Reimbursements”) that were incurred

 in connection with a Qualifying Repair. Within 30 days of the Effective Date or within 30 days

 of the end of the Claims Period, whichever is later, FCA US will deposit the portion of the

 Settlement Fund necessary to cover valid Claims relating to Repair Related Reimbursements into

 the Escrow Account. Reimbursements to Class Members for Repair-Related Reimbursements

 pursuant to this Settlement are limited to a total of $8,000,000 (“Eight Million Dollars”). In the


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 event Claims for Repair-Related Reimbursements exceed $8,000,000, Claims will be adjusted on

 a pro rata basis.

          3.11     To the extent any Claimant incurred expenses for a rental car or towing service

 related to the Oil Consumption Defect or obtaining a Qualifying Repair for a Class Vehicle, the

 Claimant shall be entitled to reimbursement provided that:

                   (a)    A Claim is submitted within the Claims Period;

                   (b)    The Claim contains a completed Claim Form; and

                   (c)    The Claim contains a Proof of Repair-Related Expense that reflects a
                          Qualifying Repair performed within 24 hours of the incurred rental car or
                          towing expense.

          3.12     In the event a Claimant cannot provide proof of a Qualifying Repair, the Settlement

 Administrator will communicate with FCA US to request a copy.

          3.13     Claimants making a Claim for towing expenses shall be entitled to full

 reimbursement. Claims for rental car expenses shall be capped at $300 per Claim.

          3.14     Claimants previously reimbursed in full or in part for rental car or towing expenses

 related to the Oil Consumption Defect or obtaining a Qualifying Repair (e.g., through an FCA US

 or dealership goodwill payment) shall not be entitled to a reimbursement under this Settlement for

 that portion of the expense for which they have already been reimbursed.

 D.       Cash Compensation for Class Vehicles Subject to CSN W80 that had an Engine
          Long Block Replacement.

          3.15     All Class Members whose vehicle is subject to CSN W80 will automatically

 receive a cash payment of $340 (Three-Hundred Forty Dollars) if their vehicle is diagnosed as

 having an Oil Consumption Defect and receives an engine long block replacement.

          3.16     FCA US shall work directly with its dealership network to acquire the necessary

 data to identify which Class Members received an engine block replacement under CSN W80.




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 FCA US will provide that data directly to the Settlement Administrator.            The Settlement

 Administrator will then mail a check directly to the Class Members identified by FCA US.

          E.       Costs of Administration and Notice.

          3.17     FCA US shall be responsible for all Administration Expenses including Notice. In

 no event shall Plaintiffs’ Counsel or the Class be responsible for any Administration Expenses.

                                IV.    CLAIMS ADMINISTRATION

 A.       Review and Payment of Claims

          4.1      Claims submitted pursuant to this Settlement may be submitted, at the election of

 the Claimant, by U.S. mail, email, or through the dedicated Settlement Website discussed below.

 The mailing address and email address to which Claimants may submit Claims, as well as

 Claimants’ right to submit their Claims through the Settlement Website, shall be posted

 prominently in each of the following locations: the Short-Form Notice, Long-Form Notice, Claim

 Form, and dedicated Settlement Website.

          4.2      The Claim Form shall provide an option for Claimants to indicate a preference for

 communication via regular U.S. mail instead of email. If the Settlement Administrator has an

 email address for a Claimant and the Claimant did not indicate on the Claim Form that he or she

 prefers to communicate via regular U.S. mail, the Settlement Administrator shall respond by email.

 In instances in which U.S. mail is used, the Settlement Administrator shall respond using the

 address provided on the corresponding Claim Form.

          4.3      Upon receipt of a Claim, the Settlement Administrator shall review the Claim to

 determine whether the Claim meets all qualifications for payment set forth in this Settlement

 Agreement and, if so, the amount of the reimbursement owed.

          4.4      Within 60 days of receiving a Claim, the Settlement Administrator shall provide

 written notice to the Claimant who submitted it, notifying the Claimant of:


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                   (a)    the amount, if any, that FCA US will reimburse the Claimant under this
                          Settlement, if approved;

                   (b)    the basis for the Settlement Administrator’s decision to either deny or pay
                          less than a full reimbursement (if applicable); and

                   (c)    the Claimant’s right to attempt to cure any deficiency that led to the
                          Settlement Administrator’s proposal to award less than full reimbursement.

          4.5      In response to receiving the written notice under section IV.A.4.4, Claimants may:

                   (a)    Attempt to cure the deficiency stated as justification for not awarding a full
                          reimbursement, by submitting the information and/or documentation
                          identified by the Settlement Administrator as lacking in the Claim, within
                          20 days of receipt of the written notice. The Settlement Administrator shall
                          have 35 days from the date of the cure attempt to provide written notice to
                          the Claimant stating its final determination as to the total reimbursement to
                          be paid to the Claimant and the reasons for the reimbursement amount if
                          less than requested; or

                   (b)    Accept the partial reimbursement offered by the Settlement Administrator,
                          which acceptance will be presumed if no cure attempt is received by the
                          Settlement Administrator within 20 days of the date of the written notice.

          4.6      The Settlement Administrator’s final determination shall not be disputed by

 FCA US, Co-Lead Class Counsel, or the Claimant.

          4.7      On a monthly basis beginning 30 days after the Notice Date, the Settlement

 Administrator shall provide Co-Lead Class Counsel and FCA US with a copy of each final

 determination notice sent pursuant to section IV.4, along with the Claim Form and all other

 documentation associated with the Claim.

          4.8      For each Claim qualifying for a reimbursement payment under this Settlement

 Agreement, the Settlement Administrator shall mail a check to the Claimant, at the address on the

 Claim Form, within 21 days of FCA US funding the Settlement Fund. All checks will be valid for

 90 days.

          4.9      Nothing in this Settlement Agreement shall be read to prevent FCA US from

 electing, at its sole discretion and on a case-by-case basis, to implement or to continue to



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 implement any customer satisfaction or goodwill policy, program, or procedure at its discretion,

 that provides consideration to Class Members over and above that required by this Settlement,

 without regard to the Class Members’ entitlement to relief under the Settlement. No such election

 by FCA US, however, shall act to deprive a Class Member or Claimant of any of the benefits

 available under the Settlement.

 B.       Unused Funds

          4.10     For any checks that have not been returned as undeliverable or remain uncashed

 after 90 days of issuance, the Settlement Administrator shall mail a second check to the Claimant.

          4.11     Any funds that remain unclaimed 90 days after the second checks are mailed shall

 be distributed to an appropriate cy pres recipient selected by the Parties and agreed to by the Court.

                                  V.      NOTICE TO THE CLASS

 A.       CAFA Notice.

          5.1      In compliance with the attorney general notification provision of the Class Action

 Fairness Act (“CAFA”), 28 U.S.C. § 1715, FCA US shall cause notice of this Settlement to be

 provided to the Attorney General of the United States and the attorneys general of each state or

 territory in which a Class Member resides (“CAFA Notice”). FCA US shall bear all costs

 associated with effecting the CAFA Notice.

 B.       Notice Deadline.

          5.2      No later than the Notice Date, the Settlement Administrator shall cause Notice to

 the Class to be disseminated by U.S. mail and the dedicated Settlement Website.

 C.       Individual Class Notice Methods.

          5.3      Following the Court granting preliminary approval of this Settlement, the

 Settlement Administrator shall provide by direct U.S. mail, to all reasonably identifiable Class

 Members, a notice substantially in the form attached hereto as Exhibit C (“Short-Form Notice”).



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 The Settlement Administrator shall further set up and maintain a Settlement Website where Class

 Members can access a “Long-Form Notice” (substantially in the form attached hereto as

 Exhibit B), a Claim Form, a copy of this Settlement Agreement, the operative complaint, and

 additional information about the Action and Settlement. The Short-Form Notice will include the

 address of the Settlement Website, as well as a toll-free number for an interactive voice recording

 service that allows Class Members to leave a request for a paper copy of the Long-Form Notice.

          5.4      For purposes of mailing Notice, FCA US agrees to provide to the Settlement

 Administrator within 21 days of entry of the Preliminary Approval Order all available names and

 mailing address information for original and subsequent purchasers and lessors of each Class

 Vehicle, along with those Class Vehicles’ VINs. The Settlement Administrator shall provide all

 available contact information, including all Class Vehicles’ VINs, to R.L. Polk & Company, or a

 similar third-party entity, which shall be authorized to use that information to obtain the names

 and most current addresses of Class Vehicle owners through state agencies. Prior to mailing the

 individual Short-Form Notice, the Settlement Administrator shall conduct an address search

 through the United States Postal Service’s National Change of Address database to update the

 address information for Class Members.

          5.5      The Parties agree that the names and addresses provided to the Settlement

 Administrator shall not be used for any purpose other than for providing the written notice

 identified herein and that such names and addresses shall be treated as private and confidential

 information and not disseminated, in any manner, to anyone other than the Settlement

 Administrator. The Parties agree to seek entry of an Order by the Court mandating that FCA US

 provide the names and addresses to the Settlement Administrator and that such information be

 treated as private, confidential, and proprietary.




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          5.6      For all Class Members for whom the Notice is returned with forwarding address

 information, the Settlement Administrator shall re-mail the Notice to the new address indicated.

 For all Class Members for whom the Notice is returned without forwarding address information,

 the Settlement Administrator shall perform an advanced address search and re-mail the Notice to

 the best known address resulting from that search.

          5.7      For a period ending 90 days after the Notice Date, the Settlement Administrator

 shall provide Co-Lead Class Counsel and FCA US with reasonable periodic reports of the total

 number of Notices sent to Class Members by U.S. mail, along with the numbers of Notices returned

 as undeliverable. The Settlement Administrator shall communicate with Co-Lead Class Counsel

 and FCA US regarding delivery of Notice and the number of Class Members who have responded

 to the Notice.

                        VI.   ATTORNEYS’ FEES AND SERVICE PAYMENTS

          6.1      The Attorneys’ Fees and Expenses awarded to Co-Class Counsel will be

 determined by the Court based on a petition filed by Co-Class Counsel. The Parties agree that Co-

 Lead Class Counsel may apply to the Court for an award of reasonable attorneys’ fees and

 expenses, inclusive of costs up to, but not to exceed, the total combined sum of $7,500,000 (Seven

 Million Five Hundred Thousand Dollars). FCA US will not oppose Co-Lead Class Counsel’s

 application for Attorneys’ Fees and Expenses up to and not exceeding the above amounts, and Co-

 Lead Class Counsel may not be awarded, and shall not accept, any amount for attorneys’ fees and

 expenses in excess of the above amount. Each party shall have the right of appeal to the extent the

 award is inconsistent with this Agreement. Attorneys’ Fees and Expenses shall be in addition to

 the benefits provided directly to the Settlement Class (and shall be in addition to the class

 representative Service Awards) and shall not reduce or otherwise have any effect on the benefits

 made available to the Settlement Class.


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          6.2      Upon finalization of this Settlement Agreement, the Parties have agreed that

 FCA US will not oppose Plaintiffs’ request, made as part of the Attorneys’ Fees and Expenses

 Application, that FCA US separately pay Service Awards ranging between $1,000 to $3,000 (One

 Thousand to Three Thousand Dollars) to each of the Class Representatives.

          6.3      FCA US shall pay Co-Lead Class Counsel the fees, expenses, and service payments

 awarded by the Court within the latter of 30 days following: (i) the Effective Date or (ii) the first

 date after the Court enters an order awarding fees, expenses, and service payments, and all

 appellate rights with respect to said order have expired or been exhausted in such a manner as to

 affirm the order. Within 3 days following (i) the Effective Date or (ii) the first date after the Court

 enters an order awarding fees, expenses, and service payments, and all appellate rights with respect

 to said order have expired or been exhausted in such a manner as to affirm the order, Co-Lead

 Class Counsel shall provide FCA US a W-9 for each payee, as well as wire instructions on their

 firm letterhead for the payment to Co-Lead Class Counsel of fees, expenses, and service payments

 awarded by the Court.

                                           VII.   RELEASE

          7.1      Upon entry of a Court order granting final approval of the Settlement and entering

 judgment pursuant to section VIII.C below, Plaintiffs and the Settlement Class irrevocably release,

 waive, and discharge any and all past, present, and future Released Claims, damages, costs,

 attorneys’ fees, losses, or demands that have been brought or could have been brought, whether

 known or unknown, existing or potential, or suspected or unsuspected relating to the Oil

 Consumption Defect in the Class Vehicles against Releasees, whether or not specifically named

 herein, asserted or unasserted, under or pursuant to any statute, regulation, common law, or

 equitable principle, based on the facts alleged in any complaint filed in the Action and all legal

 claims of whatever type or description arising out of, that may have arisen as a result of, or which


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 could have been brought based on, any of the facts, acts, events, transactions, occurrences, courses

 of conduct, representations, omissions, circumstances or other matters pleaded in complaints filed

 in the Action related to issues of oil consumption, including any claims for issues related to oil

 consumption that are covered by and remedied under the Extended Warranty and other benefits

 described in Sections III.A through III.D (including the Extended Warranty, Repair Related

 Reimbursements, and cash compensation for vehicles in the CSN W80 population).

          7.2      The Settlement Agreement and Release in Section 7.1 do not release claims for

 death, personal injuries, or excess emissions unrelated to oil consumption issues. The release

 effected by this Settlement Agreement is intended to be a specific release and not a general release.

 If, despite and contrary to the Parties’ intention, a court construes the release as a general release

 under California law and determines that Section 1542 of the California Civil Code is applicable

 to the release, the Class Representatives, on behalf of themselves and all Class Members, hereby

 expressly waive and relinquish to the fullest extent permitted by law, the rights provided by Section

 1542 of the California Civil Code, which provides:

          Certain Claims Not Affected By General Release: A general release does not extend
          to claims that the creditor or releasing party does not know or suspect to exist in
          his or her favor at the time of executing the release and that, if known by him or
          her, would have materially affected his or her settlement with the debtor or released
          party.

 Each of the Class Representatives expressly acknowledges that the Class Representative has been

 advised by Co-Lead Class Counsel of the contents and effects of Section 1542, and with

 knowledge, each of the Class Representatives hereby expressly waives, on behalf of the Class

 Representative and all Class Members, whatever benefits the Class Representatives and the Class

 Members may have had pursuant to such section. Each of the Class Representatives hereby

 expressly waives, on behalf of the Class Representative and all Class Members, the benefit of any

 law of any state or territory of the United States, federal law or principle of common law, or of


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 international or foreign law, which is similar, comparable, or equivalent to Section 1542 of the

 California Civil Code.

          7.3      Plaintiffs and Class Members recognize that, even if they later discover facts in

 addition to or different from those which they now know or believe to be true, they nevertheless

 agree that, upon entry of the Final Approval Order and Judgment, Releasors fully, finally, and

 forever settle and release any and all Released Claims against Releasees. The Parties acknowledge

 that this waiver and release were bargained for and are material elements of the Settlement.

          7.4      By this Settlement Agreement, FCA US releases the Plaintiffs and Plaintiffs’

 Counsel from any and all claims or causes of action that were, or could have been, asserted by

 FCA US pertaining to this Action or Settlement. FCA US recognizes that, even if it later discovers

 facts in addition to or different from those which they now know or believe to be true, it

 nevertheless agrees that, upon entry of an order granting final approval to this Settlement and

 entering judgment, FCA US, fully, finally, and forever settles and releases any and all such claims.

 The Parties acknowledge that this waiver and release were bargained for, and are material elements

 of the Settlement.

          7.5      This Settlement and the release in the preceding paragraph do not affect the rights

 of Class Members who timely and properly request exclusion from the Class, or anyone

 encompassed within the class definitions set forth in the complaints in this Action who are not a

 member of the Class defined in this Settlement Agreement. The Parties do not intend this

 Settlement Agreement and release to affect any legal claims that arise out of a consumer’s purchase

 or use of any vehicle other than a Class Vehicle.

          7.6      The administration and consummation of the Settlement shall be under the authority

 of the Court. The Court shall retain jurisdiction to protect, preserve, and implement the Settlement.




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 The Court retains jurisdiction to enter such further orders as may be necessary or appropriate in

 administering and implementing the terms and provisions of the Settlement, including, but not

 limited to, orders enjoining Class Members from prosecuting claims that are released pursuant to

 the Settlement and allowing for discovery related to objectors.

          7.7      Upon issuance of the Final Approval Order and Judgment: (i) the Settlement shall

 be the exclusive remedy for Class Members; (ii) Releasees shall not be subject to liability or

 expense of any kind to any Class Member(s) for reasons related to the Action except as set forth

 herein; and (iii) Class Members shall be permanently barred from initiating, asserting, or

 prosecuting any and all released claims against the Releasees.

                           VIII. SETTLEMENT APPROVAL PROCESS

 A.       Intention to Complete Settlement.

          8.1      The Parties shall cooperate with each other in good faith to carry out the purposes

 of and effectuate this Settlement, shall promptly perform their respective obligations hereunder,

 and shall promptly take any and all actions and execute and deliver any and all additional

 documents and all other materials and/or information reasonably necessary or appropriate to carry

 out the terms of this Settlement and the transactions contemplated hereby. Plaintiffs shall prepare

 all preliminary approval and final approval papers.

          8.2      If the Preliminary Approval Order or the Final Approval Order and Judgment is not

 obtained from the Court in the form contemplated by this Settlement or Final Approval Order and

 Judgment is reversed or materially modified on appeal, this Settlement shall be null and void ab

 initio upon election of any of the Parties and have no further force and effect with respect to any

 of the Parties in this Action. Nothing in this provision shall affect FCA US’s obligation to pay all

 costs reasonably incurred by the settlement administration process.




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 B.       Preliminary Court Approval.

          8.3      Promptly after execution of this Settlement by the Parties, counsel for the Parties

 shall present this Settlement to the Court for review and jointly seek entry of an order that certifies

 the Class as a settlement class, grants preliminary approval of this Settlement, and directs the

 Settlement Administrator to provide notice of the Settlement in the manners listed herein.

          8.4      No later than 20 days before the Court hearing on final approval of the Settlement,

 the Settlement Administrator shall provide affidavits for the Court, with a copy to Co-Lead Class

 Counsel and FCA US, attesting that Notice was disseminated in a manner consistent with the terms

 of this Settlement Agreement, or as otherwise required by the Court.

 C.       Final Court Approval.

          8.5      Once the Court enters a preliminary approval order, counsel for the Parties shall

 use their best efforts to promptly obtain entry of a Final Approval Order and Judgment that:

                   (a)    Finds the Settlement to be fair, reasonable, and adequate;

                   (b)    Finds that the Notice given constitutes the best notice practicable;

                   (c)    Approves the release specified in Section VI as binding and effective as to
                          all Class Members who have not properly excluded themselves from the
                          Class;

                   (d)    Directs that judgment be entered on the terms stated herein; and

                   (e)    Provides that the Court will retain jurisdiction over the Parties and Class
                          Members to enforce the terms of the final order and judgment.

          8.6      Upon entry of the final order and judgment, this Action shall be dismissed, on its

 merits and with prejudice, with respect to all Plaintiffs and all Class Members who have not

 properly excluded themselves from the Class, and without prejudice as to anyone else, subject to

 the continuing jurisdiction of the Court.




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                               IX.     REQUESTS FOR EXCLUSION

          9.1      The provisions of this section shall apply to any request by a Class Member for

 exclusion from the Class.

          9.2      Any Class Member may make a request for exclusion by submitting such request

 in writing as set forth in the Notice.

          9.3      Any request for exclusion must be submitted no later than the date specified in the

 Court’s preliminary approval order.

          9.4      Any request for exclusion shall (i) state the Class Member’s full name and current

 address, (ii) provide the model year and Vehicle Identification Number (“VIN”) of his/her/its Class

 Vehicle(s) and the approximate date(s) of purchase or lease, and (iii) specifically and clearly state

 his/her/its desire to be excluded from the Settlement and from the Class.

          9.5      Failure to comply with these requirements and to timely submit the request for

 exclusion will result in the Class Member being bound by the terms of the Settlement Agreement.

          9.6      Any Class Member who submits a timely request for exclusion may not file an

 objection to the Settlement and shall be deemed to have waived any rights or benefits under this

 Settlement Agreement.

          9.7      The Settlement Administrator shall report the names of all Class Members who

 have submitted a request for exclusion to the Parties on a weekly basis, beginning 30 days after

 the Notice Date.

          9.8      Co-Lead Class Counsel represent and warrant that they have no other agreements

 with other counsel respecting Class Members, including any agreements with respect to referring,

 soliciting, or encouraging any Class Members to request to be excluded (or “opt out”) from this

 agreement.




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          9.9      Upon certification of the Class in connection with the Preliminary Approval of this

 agreement, Co-Lead Class Counsel agree to seek in the Preliminary Approval Order from the Court

 a provision encouraging all written communications to multiple Class Members with respect to

 this Agreement to be reviewed and approved by Co-Lead Class Counsel and the Court, and Co-

 Lead Class Counsel agree to abide by that provision as may be required by the Court.

                                         X.     OBJECTIONS

          10.1     The Parties will request that the Court enter an order requiring any Class Member

 who wishes to enter an objection to be considered, to submit a written notice of objection to the

 Settlement Administrator by the deadline set in the Court’s Preliminary Approval Order.

          10.2     To state a valid objection to the Settlement, an objecting Class Member must

 provide the following information in his, her, or its written objection: (i) the case name and

 number, Amber Wood, et al. v. FCA US LLC, No. 20-cv-11054 (E.D. Mich.); (ii) his/her/its full

 name, current address, and current telephone number; (iii) the model year and VIN of his/her/its

 Class Vehicle(s); (iv) a statement of the objection(s), including all factual and legal grounds for

 the position; (v) copies of any documents the objector wishes to submit in support; (vi) the name

 and address of the attorney(s), if any, who is representing the objecting Class Member in making

 the objection or who may be entitled to compensation in connection with the objection; (vii) a

 statement of whether the Class Member objecting intends to appear at the Final Approval Hearing,

 either with or without counsel; (viii) the identity of all counsel (if any) who will appear on behalf

 of the Class Member objecting at the Final Approval Hearing and all persons (if any) who will be

 called to testify in support of the objection; (ix) the signature of the Class Member objecting, in

 addition to the signature of any attorney representing the Class Member objecting in connection

 with the objection, and (x) date the objection. In addition, any Class Member objecting to the

 Settlement shall provide a list of any other objections submitted by the objector, or the objector’s


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 counsel, to any class action settlements submitted in any court in the United States in the previous

 five years. If the Class Member or his or her counsel has not made any such prior objection, the

 Class Member shall affirmatively so state in the written materials provided with the objection.

          10.3     If the objecting Class Member intends to appear, in person or by counsel, at the

 Final Approval Hearing, the objecting Class Member must so state in the objection. Any Class

 Member who does not state his or her intention to appear in accordance with the applicable

 deadlines and other specifications, or who has not filed an objection in accordance with the

 applicable deadlines and other specifications, will be deemed to have waived any objections to the

 Settlement and can be barred from speaking or otherwise presenting any views at the Final

 Approval Hearing.

          10.4     The Parties will request that the Court enter an order providing that the filing of an

 objection allows Co-Lead Class Counsel or FCA US’s Counsel to notice such objecting person

 for, and take his, her, or its, deposition consistent with the Federal Rules of Civil Procedure at an

 agreed-upon location, and to seek any documentary evidence or other tangible things that are

 relevant to the objection. Failure by an objector to make himself/herself/itself available for a

 deposition or comply with expedited discovery requests may result in the Court striking the

 objection and otherwise denying that person the opportunity to be heard. The Court may tax the

 costs of any such discovery to the objector or the objector’s counsel should the Court determine

 that the objection is frivolous or made for improper purpose.

          10.5     Any objector who seeks a fee for their objection shall do so as prescribed under

 Federal Rule of Civil Procedure 23(e)(5)(B).




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          10.6     These procedures and requirements for objecting are intended to ensure the efficient

 administration of justice and the orderly presentation of any Class Member’s objection to the

 Settlement, in accordance with the due process rights of all Class Members.

          10.7     Any Class Member who fails to file and timely serve a written objection containing

 all of the information listed in paragraphs 10.2 and 10.3 above, including notice of his/her intent

 to appear at the Final Approval Hearing, shall not be permitted to object to the Settlement and shall

 be foreclosed from seeking any review of the Settlement or the terms of the Settlement Agreement

 by any means, including but not limited to an appeal.

          10.8     The Parties shall promptly inform the Court of any consideration sought by an

 objector and the circumstances of such a request.

                                      XI.     MISCELLANEOUS

 A.       Choice of Law.

          11.1     This Settlement Agreement shall be governed by and construed in accordance with

 the substantive laws of the State of Michigan without giving effect to any choice or conflict of law

 provision, or rule that would cause the application of the laws of any other jurisdiction.

 B.       Not Evidence.

          11.2     The Parties understand and acknowledge that this Settlement Agreement

 constitutes a compromise and settlement of disputed claims. No action taken by the Parties, either

 previously or in connection with the negotiations or proceedings connected with this Settlement

 Agreement, shall be deemed or construed to be an admission of the truth or falsity of any claims

 or defenses heretofore made or an acknowledgment or admission by any party of any fault, liability

 or wrongdoing of any kind whatsoever to any other party.

          11.3     Neither this Settlement Agreement, nor any act performed or document executed

 pursuant to or in furtherance of it, (a) is, or may be deemed to be, or may be used as, an admission


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 of, or evidence of, the validity of any legal claim made by Plaintiffs or Class Members, or of any

 wrongdoing or liability of FCA US; or (b) is, or may be deemed to be, or may be used as, an

 admission of, or evidence of, any fault or omission of Releasees in any proceeding in any court,

 administrative agency, or other tribunal.

          11.4     This provision shall survive the expiration or voiding of the Settlement Agreement.

 C.       Headings.

          11.5     The headings of the sections and paragraphs of this Settlement Agreement are

 included for convenience only and shall not be deemed to constitute part of this Agreement or to

 affect its construction.

 D.       Effect of Exhibits.

          11.6     The exhibits to this Settlement Agreement are an integral part of the Settlement and

 are expressly incorporated and made a part of this Settlement Agreement.

 E.       Entire Agreement.

          11.7     This Settlement Agreement represents the entire agreement and understanding

 among the Parties and supersedes all prior proposals, negotiations, agreements, and understandings

 relating to the subject matter of this agreement. The Parties acknowledge, stipulate, and agree that

 no covenant, obligation, condition, representation, warranty, inducement, negotiation, or

 understanding concerning any part or all of the subject matter of this agreement has been made or

 relied on except as expressly set forth in this Settlement Agreement. No modification or waiver

 of any provisions of this Settlement Agreement shall in any event be effective unless the same

 shall be in writing and signed by the person or Party against whom enforcement of the Settlement

 Agreement is sought.




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 F.       Counterparts.

          11.8     This Settlement Agreement may be executed in one or more counterparts, each of

 which shall be deemed an original as against any Party who has signed it, and all of which shall

 be deemed a single agreement.

 G.       Arm’s Length Negotiations.

          11.9     The Parties have negotiated all terms and conditions of this Settlement Agreement

 at arm’s length. The provisions for Attorneys’ Fees and Expenses and Service Awards set forth

 herein were negotiated separately from and after agreement on the provisions for relief to Plaintiffs

 and the Class.

          11.10 All terms, conditions, and exhibits in their exact form are material and necessary to

 this Settlement Agreement and have been relied upon by the Parties in entering into this Settlement

 Agreement.

          11.11 The determination of the terms of, and the drafting of, this Settlement Agreement

 has been by mutual agreement after negotiation, with consideration by and participation of all

 Parties and their counsel. Since this Settlement Agreement was drafted with the participation of

 all Parties and their counsel, the presumption that ambiguities shall be construed against the drafter

 does not apply. The Parties were represented by competent and effective counsel throughout the

 course of settlement negotiations and in the drafting and execution of this Settlement Agreement,

 and there was no disparity in bargaining power among the Parties to this Agreement.

 H.       Public Statements.

          11.12 The Parties and their Counsel agree to keep the substance of this agreement

 confidential until the date on which the agreement is filed with the Court, provided that this Section

 shall not prevent FCA US from disclosing such information, prior to the date on which the

 agreement is filed, to state and federal agencies, independent accountants, actuaries, advisors,


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 financial analysts, insurers, or attorneys, nor shall it prevent the Parties and their Counsel from

 disclosing such information to persons or entities (such as experts, courts, co-counsel, and/or

 administrators) to whom the Parties agree disclosure must be made in order to effectuate the terms

 and conditions of the agreement; provided further that FCA US may disclose publicly the terms of

 the agreement that it deems necessary to meet its regulatory obligations or fiduciary duties; and

 provided further that Plaintiffs may disclose the terms to their expert(s). Neither the Parties nor

 their Counsel shall issue (or cause any other Person to issue) any press release concerning the

 existence or substance of this agreement.

 I.        Good Faith.

           11.13 The     Parties   acknowledge    that    prompt   approval,   consummation,     and

 implementation of this Settlement is essential. The Parties shall cooperate with each other in good

 faith to carry out the purposes of and effectuate this Settlement, shall promptly perform their

 respective obligations hereunder, and shall attempt to resolve any dispute that may arise under this

 Settlement in a good faith and expeditious manner.

 J.        Continuing Jurisdiction.

           11.14 The Parties agree the Court may retain continuing and exclusive jurisdiction over

 them, and all Class Members, for the purpose of the administration and enforcement of this

 Settlement.

 K.        Extensions of Time.

           11.15 The Parties may agree upon a reasonable extension of time for deadlines and dates

 reflected in this Settlement Agreement without further notice (subject to Court approval as to court

 dates).




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 Co-Lead Class Counsel for Plaintiffs and the Class
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 APPROVED AND AGREED TO BY AND ON BEHALF OF PLAINTIFFS


 Dated: February ___, 2022


 By:
          AMBER WOOD



 Dated: February ___, 2022


 By:
          THOMAS WEINER



 Dated: February ___, 2022


 By:
          KAREN BURKE



 Dated: February ___, 2022


 By:
          NICK GIZZARELLI



 Dated: February ___, 2022


 By:
          GUY WEST




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 Dated: February ___, 2022


 By:
          KYLE DAVIS



 Dated: February ___, 2022


 By:
          REBEKAH AEREN WRIGHT



 Dated: February ___, 2022


 By:
          CATHERINE COPPINGER



 Dated: February ___, 2022


 By:
          KIMBERLY EAGER



 Dated: February ___, 2022


 By:
          ROBERTO HERNANDEZ



 Dated: February ___, 2022


 By:
          MIKAELYN MCDOWELL




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 Dated: February ___, 2022


 By:
          ROSALIND BURKS



 Dated: February ___, 2022


 By:
          HOLLY HICKMAN



 Dated: February ___, 2022


 By:
          AMBER PORTUGAL



 Dated: February ___, 2022


 By:
          MICHAEL SANCHEZ



 Dated: February ___, 2022


 By:
          ADAM DYER



 Dated: February ___, 2022


 By:
          ARTEAL JORDAN




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 Dated: February ___, 2022


 By:
          VIVIEN NAGY



 Dated: February ___, 2022


 By:
          KATLYN WILLS



 Dated: February ___, 2022


 By:
          CHERYL MILLER



 Dated: February ___, 2022


 By:
          KELLY JOHNSON



 Dated: February ___, 2022


 By:
          HOLLY KUNDEL



 Dated: February ___, 2022


 By:
          RYAN HALL




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 Dated: February ___, 2022


 By:
          DANIELLE COATES



 Dated: February ___, 2022


 By:
          KELSEY WILLIAMS



 Dated: February ___, 2022


 By:
          DANIEL SCOTT



 Dated: February ___, 2022


 By:
          RYAN GRAHAM



 Dated: February ___, 2022


 By:
          ROBERT JOHNSTON



 Dated: February ___, 2022


 By:
          DEBORAH JOHNSTON




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 Dated: February ___, 2022


 By:
          MICHELLE SCHMID



 Dated: February ___, 2022


 By:
          NATHANEAL ROMANCHUK



 Dated: February ___, 2022


 By:
          NICOLETTE WATSON



 Dated: February ___, 2022


 By:
          DESIREE TARRO



 Dated: February ___, 2022


 By:
          PAMELA ANDERSON



 Dated: February ___, 2022


 By:
          CAREN CHRISTMAN




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 Dated: February ___, 2022


 By:
          JOSHUA CAPLES



 Dated: February ___, 2022


 By:
          LUIS MUNOZ



 Dated: February ___, 2022


 By:
          SHERRI MCCALL



 Dated: February ___, 2022


 By:
          KRISHAWN DURHAM



 Dated: February ___, 2022


 By:
          KATIE KUCZKOWSKI



 Dated: February ___, 2022


 By:
          DANIEL MCGORREY




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                            Exhibit A
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                         Claims can be submitted electronically at www.xxxxxxxxx.com.

                                                FCA US CLAIM FORM

                          Amber Wood, et al. v. FCA US, LLC, No. 5:20-cv-11054 (E.D. Mich.)

         All claims must be postmarked or submitted electronically by                                          .


                               Four Steps to Make a Claim for Repair-Related Reimbursement

[1] Please provide the information in the spaces below:
First Name:                                               MI:     Last Name:


Address 1:


Address 2:


City:                                                                                                          State:


ZIP Code:
                     –
Email: (If you choose to provide your email address, FCA US will contact you about the Settlement by email.)


Phone:
              –                –
Please provide your Vehicle Identification Number (“VIN”) and current vehicle mileage.
VIN:                                                                           Mileage



[2] Indicate the amount of the repair-related reimbursement you are claiming and enclose the required
corroborating documentation set forth below.

$                          .
Documentation: To ensure proper claim handling, you must include with the claim form a copy of a receipt and/or
other documents showing:
         ■    the amount(s) of the expense(s) for which you are seeking reimbursement (i.e., expenses for a rental car
              and/or towing service);
         ■    the date when you paid for the rental car and/or towing service;
         ■    the amount paid (e.g. receipt, credit card statement, bank statement) and
         ■    the nature of the corresponding Qualifying Repair (that occurred within 24 hours of incurring any rental
              car and/or towing service expenses claimed).

Note: You may request documentation from the FCA US dealership where the repair was performed. If you paid
in cash and have no receipt, you must attach to this Claim Form a statement detailing the date, amount paid,
and name of the service provider to whom the amount was paid. Your signature on this Claim Form will
constitute your attestation that the statement is correct.

[3] Sign & Date
 I swear that all information supplied in and with this Claim Form, including any separate statement being provided,
For more information or questions about submitting a claim, please view the Class Notice at
www.xxxxxxxxx.com, or call the Settlement Administrator at 1-xxx-xxx-xxxx.

                                                            2
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                      Claims can be submitted electronically at www.xxxxxxxxx.com.
is true and correct to the best of my knowledge and belief. I agree to participate in the Settlement. I authorize any
dealership that serviced my vehicle to release records to FCA US. To the extent I am seeking reimbursement for an
expense and do not have a receipt or other documentation for the corresponding cash payment, I attest that I (or a
friend or family member) paid for the expense in cash and I do not have a receipt or documentation for the payment.

 Signature:                                                                                                Date:
              ______________________________________________________________________________________




[4] Submit: Email the completed form and the documentation to ___________ or mail it to ____________.




For more information or questions about submitting a claim, please view the Class Notice at
www.xxxxxxxxx.com, or call the Settlement Administrator at 1-xxx-xxx-xxxx.

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                            Exhibit B
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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

                   NOTICE OF PROPOSED CLASS SETTLEMENT

      A proposed class action settlement may affect your rights and entitle you
        to cash compensation if you purchased or leased one of the following
                  vehicles equipped with a 2.4L Tigershark engine:

                              2015-2017 Chrysler 200
                               2013-2016 Dodge Dart
             2014-2019 Jeep Cherokee (manufactured prior to July 2018)
                             2015-2018 Jeep Renegade
                             2017-2018 Jeep Compass
                          2015-2018 Ram Promaster City
                                2016-2018 Fiat 500x

           A federal court authorized this notice. This is not a solicitation from a lawyer.

       Your rights are affected regardless of whether you act or do nothing. Read
                                   this notice carefully.
  ▪    The purpose of this notice is to inform you of a proposed settlement of a class action lawsuit
       known as Wood, et al. v. FCA US, LLC, No. 5:20-cv-11054 (E.D. Mich.). You are receiving
       this notice because records available to the parties indicate that you may be entitled to claim
       certain financial and warranty benefits offered by this Settlement.

  ▪    This Action alleges that the 2.4L Tigershark engine in model-year 2015-2017 Chrysler 200,
       2013-2016 Dodge Dart, 2014-2019 Jeep Cherokee (manufactured prior to July 2018), 2015-
       2018 Jeep Renegade, 2017-2018 Jeep Compass, 2015-2018 Ram Promaster City, and 2016-
       2018 Fiat 500x vehicles (“Class Vehicles”) suffer from a defect that causes the engine to
       consume abnormally high amounts of oil that may result in an unexpected shut down during
       the normal course of operation (“Oil Consumption Defect”).

  ▪    FCA US has not been found liable for any of the claims alleged in this Action, and FCA US
       denies the engines are defective. The Court has not decided who is right. The Parties have
       instead reached a voluntary settlement to avoid lengthy litigation and expedite relief to
       consumers. The consumers who owned or leased Class Vehicles are known as “Class
       Members.”

  ▪    FCA US has implemented Customer Service Notifications (“CSN”) applicable to the Class
       Vehicles to remedy a condition that may exist in some vehicles whereby an engine may
       consume more oil than usual under certain operating conditions like continuous stop and go
       driving, and to reimburse owners for prior repairs.



                  For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                    Administrator at 1-xxx-xxx-xxxx
                                                    1
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  ▪   In connection with the CSNs, a previous payment for a repair or replacement as a result of
      an excess oil consumption diagnosis will be reimbursed. Any Class Member who paid for
      a repair relating to the Oil Consumption Defect is entitled to submit a claim for
      reimbursement.

  ▪   In addition to this, the proposed Settlement extends the Powertrain Limited Warranty to
      7 years or 100,000 miles (whichever occurs first) (“Extended Warranty”) to cover the cost
      of all parts and labor to repair conditions associated with excess oil consumption.

  ▪   Under the proposed Settlement, FCA US will also create an $8,000,000 settlement fund to
      reimburse Class Members who incurred towing or rental car expenses in connection with
      obtaining a repair for a condition caused by excess oil consumption. Subject to approval,
      claims for towing expenses shall be entitled to full reimbursement and claims for rental car
      expenses will be capped at $300.

  ▪   Additionally, all Class Members whose vehicle is subject to CSN W80 will automatically
      receive a cash payment of $340 if their vehicle is diagnosed as having excess oil consumption
      and receives or has received an engine long block replacement.




                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx
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                 YOUR LEGAL RIGHTS AND OPTIONS IN THIS
                                  SETTLEMENT:
SUBMIT A CLAIM      If you paid for a repair relating to excess oil consumption, you can submit
ONLINE FOR REPAIRS a claim for reimbursement at www.fcarecallreimbursement.com. The
YOU PAID FOR        claim process is simple and should take most class members no longer than
                    a few minutes to complete.

                        If you incurred towing or rental car expenses in connection with a repair of
    SUBMIT A CLAIM FORM a condition caused by the alleged Oil Consumption Defect, you can submit
    FOR REPAIR-RELATED a Claim Form for reimbursement. The deadline to submit a Claim Form is
    EXPENSES            _____, 2022. Any extension of that date will be posted on the Settlement
                        website.

                                It is not necessary to submit a Claim Form to benefit from the Extended
                                Warranty, to have your vehicle repaired pursuant to any of the CSNs issued
                                by FCA US, or to obtain the $340 cash payment if your vehicle is subject
                                to CSN W80 and has had a related engine long block replacement.

                                Your vehicle may qualify for a free repair under one of the CSNs issued by
    RECEIVE REPAIRS             FCA US to remedy a potential condition that can cause excess oil
    UNDER FCA US                consumption. If you have not already received this repair, please contact
    CUSTOMER SERVICE            your authorized FCA US dealership to determine which CSN may be
    NOTIFICATIONS               applicable to your vehicle.

                                If you do nothing, you will be included in the Settlement and will be
DO NOTHING                      automatically eligible to receive the Extended Warranty benefits and a $340
                                cash payment if your vehicle is subject to CSN W80 and has had a related
                                engine long block replacement.

                                If you exclude yourself from the Settlement, you will not be eligible for the
    EXCLUDE YOURSELF            reimbursement of any expenses relating to a Qualifying Repair, the benefits
                                of the Extended Warranty, or any cash payment. This is the only option
                                that allows you to file your own lawsuit against FCA US related to the
                                alleged Oil Consumption Defect. The deadline to submit a request for
                                exclusion is ______, 2022.

                                In order to object to the Settlement, you must remain a Class Member in
    OBJECT                      this lawsuit. You cannot ask to be excluded. You may object to the
                                Settlement by writing to Class Counsel (identified on page 9) and indicating
                                why you do not like the Settlement. The deadline to object is _________,
                                2022.

    GO TO A HEARING             Ask to speak in Court about the fairness of the Settlement.

▪     These rights and options—and the deadlines to exercise them—are explained in this notice.
▪     The Court in charge of this case must still decide whether to approve the Settlement. Payments will be
      made if the Court approves the Settlement and after appeals are resolved. The Court approval process may
      take some time, so please be patient.
▪     Visite www.xxxxxxxxx.com para obtener una copia de este aviso en español.


                    For more information, visit www.FCAOilSettlement.com, or call the Settlement
                                          Administrator at 1-xxx-xxx-xxxx.
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                           For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                             Administrator at 1-xxx-xxx-xxxx.
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                                            BASIC INFORMATION

 1. Why did I get this notice package?
    According to vehicle records available to the parties, you bought or leased a Class Vehicle in
    the United States. The Court has ordered this notice be sent to you because you have a right
    to know about the proposed settlement of this class action lawsuit and about your options
    before the Court decides whether to approve the Settlement. If the Court approves the
    Settlement, and after any objections and appeals are resolved, FCA US will provide payments
    and other benefits agreed to in the Settlement. This notice explains the lawsuit, the Settlement,
    your legal rights, what benefits are available, who is eligible for them, and how to get them.
    You should read this entire notice.

 2. What is this lawsuit about?
    The people who filed this lawsuit are called Plaintiffs, and the company they sued, FCA US,
    is called the Defendant. The Plaintiffs allege that the Class Vehicles suffer from an Oil
    Consumption Defect that causes the engine to consume abnormally high amounts of oil
    resulting in unexpected shut down of the Class Vehicles during the normal course of operation.
    FCA US has not been found liable for any of the claims alleged in this Action, and FCA US
    denies the engines are defective. The Court has not decided who is right.

 3. Why is this a class action?
    In a class action lawsuit, one or more persons, called “Class Representatives” (in this case
    Amber Wood, Thomas Weiner, Karen Burke, Nick Gizzarelli, Guy West, Kyle Davis, Rebekah
    Aeren Wright, Catherin Coppinger, Kimberly Eager, Roberto Hernandez, Mikaelyn
    McDowell, Rosalind Burks, Holly Hickman, Amber Portugal, Michael Sanchez, Adam Dyer,
    Arteal Jordan, Vivien Nagy, Katlyn Wills, Cheryl Miller, Kelly Johnson, Holly Kundel, Ryan
    Hall, Danielle Coates, Kelsey Williams, Daniel Scott, Ryan Graham, Robert Johnston,
    Deborah Johnston, Michelle Schmid, Nathaneal Romanchuk, Nicolette Watson, Desiree Tarro,
    Pamela Anderson, Caren Christman, Joshua Caples, Luis Munoz, Sherri McCall, Krishawn
    Durham, Katie Kuczkowski, Daniel McGorrey, and Tera Castillo), sue on behalf of people
    who may have similar claims. These individuals, and those who are similarly situated, are
    collectively known as the “Class” or “Class Members.” One court resolves the issues for all
    Class Members, except those who exclude themselves from the Class. The Court in charge of
    this case is the United States District Court for the Eastern District of Michigan, and the case
    is known as Wood, et al. v. FCA US, LLC, No. 5:20-cv-11054 (E.D. Mich.). District Judge
    Judith Ellen Levy is presiding over this class action.

 4. Why is there a settlement?
    The Class Representatives and FCA US agreed to a Settlement to avoid the cost and risk of
    further litigation, including a potential trial. The Settlement does not mean that FCA US broke
    any laws and/or did anything wrong, and the Court has not decided which side is right.

    The Class Representatives and FCA US entered into an agreement (“Settlement Agreement”)
    that was preliminarily approved by the Court that authorized the issuance of this notice. The
    Class Representatives and the lawyers representing them (called “Class Counsel”) believe that
    the Settlement is in the best interest of the Class Members.



                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx.
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    This notice summarizes the essential terms of the Settlement. The Settlement Agreement along
    with all exhibits and addenda set forth the rights and obligations of all the Parties in greater
    detail. These documents are all available for review at www.xxxxxxxxx.com. If there is any
    conflict between this notice and the Settlement Agreement, the Settlement Agreement
    governs.

                                  WHO IS IN THE SETTLEMENT?

 5. How do I know if I am part of the Settlement?
    Judge Levy certified a Class comprised of:

                All individuals who purchased or leased in the United States one of the
                following vehicles equipped with a 2.4L Tigershark engine: model years
                2015-2017 Chrysler 200; model years 2013-2016 Dodge Dart; model years
                2014-2019 Jeep Cherokee manufactured prior to July 2018; model years
                2015-2018 Jeep Renegade; model years 2017-2018 Jeep Compass; model
                years 2015-2018 Ram Promaster City; and model years 2016-2018 Fiat
                500x.

    The Class excludes FCA US; any affiliate, parent, or subsidiary of FCA US; any entity in
    which FCA US has a controlling interest; any officer, director, or employee of FCA US; any
    successor or assign of FCA US; any judge to whom this Action is assigned, his or her spouse,
    and all persons within the third degree of relationship to either of them, as well as the spouses
    of such persons; individuals and/or entities who validly and timely opt‑out of the Settlement;
    consumers or businesses that have purchased Class Vehicles previously deemed a total loss
    (i.e., salvage) (subject to verification through Carfax or other means); and current or former
    owners of a Class Vehicle that previously released their claims against FCA US with respect
    to the same issues raised in this class action.

    However, the Class excludes all claims for death, personal injury, property damage, and
    subrogation.

 6. Which vehicles are included?
    The “Class Vehicles,” for the purposes of the description in question 5 above, are the following
    vehicles equipped with a 2.4-liter TigerShark engine: model years 2015–2017 Chrysler 200;
    model years 2013–2016 Dodge Dart; model years 2014–2019 Jeep Cherokee manufactured
    prior to July 2018; model years 2015–2018 Jeep Renegade; model years 2017–2018 Jeep
    Compass; model years 2015–2018 Ram Promaster City; and model years 2016–2018 Fiat
    500x.

 7. Am I included if I bought or leased a Class Vehicle that has not had problems?
    Yes. You are still a Class Member even if you did not experience excessive oil consumption
    or unexpected vehicle shutdown. If you still own or lease a Class Vehicle, you will be eligible
    to take advantage of an extension of the Powertrain Limited Warranty to a period of 7 years or
    100,000 miles (whichever occurs first), as well as certain other benefits of the Settlement.




                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx.
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 8. I am still not sure if I’m included.
    If you are still not sure whether you are included, you can ask for free help. You can visit the
    settlement website at www.xxxxxxxxx.com. You can also call 1‑xxx‑xxx‑xxxx and ask
    whether your vehicle is included in the Settlement. Whether you visit the website or call the
    toll‑free number, you will need to have your Vehicle Identification Number (“VIN”) ready.
    The VIN is located on a small placard on the top of the dashboard and is visible through the
    driver’s side corner of the windshield. It also appears on your vehicle registration card and
    probably appears on your vehicle insurance card. Your VIN should have 17 characters, a
    combination of both letters and numbers.

                           SETTLEMENT BENEFITS – WHAT YOU GET

 9. What does the Settlement provide?
    The Settlement provides the following benefits:

    1. Warranty Extension
        The Powertrain Limited Warranty for the Class Vehicles will be extended to a period of
        7 years or 100,000 miles (whichever occurs first) from the In-Service Date of the Class
        Vehicle. The Extended Warranty will cover the cost of all parts and labor needed to repair
        a condition caused by the Oil Consumption Defect in the Class Vehicles, including the
        replacement of the engine long block if your vehicle is found to have failed an oil
        consumption test after all applicable CSNs have been performed. Except for the durational
        limits, the terms, conditions, and exclusions of the Powertrain Limited Warranty applicable
        to the Class Vehicles shall apply.

        You do NOT need to submit a Claim Form to receive this Extended Warranty.

    2. Product Improvements
        FCA US has implemented Customer Service Notifications to remedy a condition that
        may exist in some vehicles whereby an engine may consume more oil than usual under
        certain operating conditions like continuous stop and go driving, specifically CSN W20,
        CSN W80, and CSN W84. All Class Members who are current owners or lessees of a
        Class Vehicle subject to CSN W20 and CSN W84 are entitled to bring their vehicle to an
        authorized FCA US dealer to have the Powertrain Control Module (“PCM”) and/or
        Transmission Control Module (“TCM”) reprogrammed to repair the condition.

        All Class Members who are current owners or lessees of Class Vehicles subject to
        CSN W80 may have an oil consumption test performed, free of charge, by an authorized
        FCA US dealer. If the Class Vehicle fails the oil consumption test as set forth in CSN W80,
        an authorized FCA US dealer will replace the vehicle’s engine long block pursuant to
        CSN W80 at no cost to the Class Member.

    3. Reimbursement for Repairs
       In connection with CSN W20, CSN W80, and CSN W84, any Class Member who paid for a repair
       relating to the Oil Consumption Defect is entitled to submit a claim for reimbursement. For
        example, costs for a diagnosis or repair necessitated by an excess oil consumption



                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx.
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        condition will be reimbursed upon submission of a valid claim. To submit a claim for
        compensation please visit www.fcarecallreimbursement.com. Please have records of the
        repairs performed and amounts paid available when submitting your claim for
        compensation.

    4. Reimbursement for Repair-Related Transportation Costs
        Money you spent on towing and/or rental car expenses that were incurred in connection
        with a qualifying repair caused by the Oil Consumption Defect will be reimbursed
        contingent on the fulfillment of the following requirements:

        ▪   The rental car or towing services were incurred within 24 hours of a qualifying repair
            performed due to the Oil Consumption Defect;

        ▪   You submit a completed Claim Form by ____, 2022 (See Section 10 below for how to
            do so); and

        ▪   The Claim Form is accompanied by an original or a copy of any document(s) that
            itemizes the rental car or towing service expense. The document should identify the
            nature of the expense, the date the cost was incurred, and the dollar amount, as well as
            documentation of the Qualifying Repair performed within 24 hours of the rental car or
            towing service.

        Claimants making a Claim for towing expenses shall be entitled to full reimbursement. Claims for
        rental car expenses shall be capped at $300 per Claim. In the event the total amount of valid
        Claims for Repair-Related Reimbursements exceeds $8,000,000 Claims will be adjusted
        on a pro rata basis.

    5. Compensation For Class Vehicles Subject to CSN W80 that had an Engine Long Block
        Replacement.
        If your Class Vehicle is subject to CSN W80 you will automatically receive a cash payment
        of $340 if the Class Vehicle is, or has been, diagnosed as having an Oil Consumption
        Defect and receives an engine long block replacement pursuant to the terms of CSN W80.

        FCA US shall work directly with its dealership network to acquire the necessary data to
        identify which Class Members received an engine block replacement under CSN W80.
        FCA US will provide that data directly to the Settlement Administrator. The Settlement
        Administrator will then mail a check directly to the Class Members identified by FCA US.

            HOW YOU GET A REIMBURSEMENT – SUBMITTING A CLAIM FORM

 10. How do I make a Claim?
     1. Reimbursement for Repairs
        Please visit www.fcarecallreimbursement.com to submit a claim for reimbursement of the
        amount paid for a repair relating excess oil consumption. The claim process is simple and
        should take most Class Members no longer than a few minutes to complete.




                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx.
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        Please keep a copy of all documentation you submit for your own records.

        Claimants previously reimbursed in full or in part for the expense incurred in connection
        with a Qualifying Repair (e.g., through an FCA US or dealership goodwill payment) shall
        not be entitled to a reimbursement under this Settlement for that portion of the expense for
        which they have already been reimbursed. Instead, they will be entitled to only that amount
        necessary to fully reimburse them for a Qualifying Repair, if any.

    2. Reimbursement for Rental Cars, Towing, Etc.
       ▪ Fill out the Claim Form (paper or online), and

        ▪   Include the documentation specified on the Claim Form. A Claim Form must include
            proof of the repair-related expenses (rental car or towing services) and a qualifying
            repair associated with the Oil Consumption Defect that was performed within 24 hours
            of the incurred expense, and

        ▪   Submit the Claim Form online, by mail, or email the Claim Form to the address listed
            on the Claim Form, and

 Do so by ______, 2022 (any extension of that date will be posted on the Settlement website).

    Please keep a copy of your completed Claim Form and all documentation you submit for your
    own records.

    If you fail to submit a Claim Form and supporting documents by the required deadline, you
    will not be reimbursed. Sending in a Claim Form late will be the same as doing nothing.

    Claimants making a Claim for towing expenses shall be entitled to full reimbursement. Claims
    for rental car expenses shall be capped at $300 per Claim.

    Claimants previously reimbursed in full or in part for rental car or towing expenses related to
    obtaining a Qualifying Repair (e.g., through an FCA US, or dealership goodwill payment) shall
    not be entitled to a reimbursement under this Settlement for that portion of the expense for
    which they have already been reimbursed.

    All Claim Forms and supporting documentation must be submitted online, emailed or mailed
    to: ____________.

 11. When would I get my reimbursement?
     For each Claim qualifying for a Repair-Related Reimbursement payment under this Settlement
     Agreement, the Settlement Administrator shall mail a check to the Claimant, at the address on
     the Claim Form. Within 30 days after the Effective Date or 30 days after the Claims Deadline,
     whichever comes later, FCA US will deposit the portion of the Settlement Fund necessary to
     cover valid Claims relating to Repair Related Reimbursements into the Escrow Account. For
     each Claim qualifying for a reimbursement payment under this Settlement Agreement, the
     Settlement Administrator shall mail a check to the Claimant, at the address on the Claim Form,



                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx.
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     within 21 days of FCA US funding the Settlement Fund. The Settlement Website will contain
     updates on when Repair-Related Reimbursement claims will be paid out. All checks will be
     valid for 90 days.

     The Effective Date for the Settlement will be the date of the Court’s Order giving final approval
     to the Settlement if there are no objections or appeals. If there are objections or appeals, the
     date will be later. When the date becomes known it will be posted at www.xxxxxxxxx.com.
     The Hon. Judith Levy, U.S. District Court Judge, will hold a Fairness Hearing on _____, 2022,
     at the U.S. District Court for the Eastern District of Michigan, Ann Arbor Courthouse, 200 E.
     Liberty Street, Suite 300, Ann Arbor, MI 48104, or by virtual video or telephonic conference,
     to decide whether to approve the Settlement. (The hearing may be rescheduled without further
     notice. To obtain updated scheduling information, or for instructions to attend the hearing if it
     is conducted remotely, see www.xxxxxxxxx.com.)

     If the Court approves the Settlement, there may be appeals afterward. It is always uncertain
     whether these appeals can be resolved, and resolving them can take time, perhaps more than a
     year. Please be patient.

     You may continue to check on the progress of the Settlement by visiting the website
     www.xxxxxxxxx.com or calling the Settlement Administrator at 1‑xxx-xxx‑xxxx.

 12. What if my Claim is found to be deficient?
     If a Claim is found to be deficient during the review process by the Settlement Administrator,
     you will be notified of the deficiency. You will then have an opportunity to remedy the
     deficiency within 20 days of the notice.

 13. What am I giving up by staying in the Class?
     Unless you exclude yourself in writing as described in the answer to Question 14, you will be
     treated as part of the Class. That means that if the Settlement is approved, you cannot sue,
     continue to sue, or be part of any other lawsuit against FCA US or other related entities or
     individuals (listed in the Settlement Agreement, which you can view at www.xxxxxxxxx.com)
     about the legal issues in this case. This includes but is not limited to claims of false advertising,
     deceptive practices, fraud, breach of implied or express warranties, lemon laws, unjust
     enrichment, strict product liability, and negligence. It also means that all of the Court’s orders
     will apply to you and legally bind you.

     However, nothing in this Settlement will prohibit you from pursuing claims for: (i) death,
     (ii) personal injury, (iii) damage to property other than to a Class Vehicle, (iv) subrogation,
     (v) excess emissions unrelated to the Oil Consumption Defect, or (vi) any and all claims that
     relate to something other than a Class Vehicle and the alleged Oil Consumption Defect here.
     If you have any questions about the scope of the legal claims you give up by staying in the
     Class, you may view Section VII of the Settlement Agreement (available at
     www.xxxxxxxxx.com) or you can contact Class Counsel identified in Section 17 below for
     free or speak with your own lawyer at your own expense.




                 For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                   Administrator at 1-xxx-xxx-xxxx.
                                                  10
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                        EXCLUDING YOURSELF FROM THE SETTLEMENT

 14. How do I get out of the Settlement?
     If you do not want the benefits or reimbursements provided in this Settlement, and you want
     to keep the right to sue or continue to sue FCA US or other related entities or individuals on
     your own about the legal issues in this case, including for any existing claims you may
     currently have, then you must take steps to get out of the Class. This is called excluding
     yourself, and is sometimes referred to as opting out of the Class.

    To exclude yourself from the Settlement, you must send a letter by U.S. Mail (or an express
    mail carrier) saying that you want to “opt‑out of” or “be excluded from” the Class Settlement
    in Wood, et al. v. FCA US, LLC, No. 5:20-cv-11054 (E.D. Mich.). Be sure to include (i) your
    full name and current address, (ii) the model year, approximate date(s) of purchase or lease,
    and Vehicle Identification Number (“VIN”) of your vehicle (which is located on a placard on
    the top of the dashboard visible through the driver’s side corner of the windshield), and
    (iii) clearly state your desire to be excluded from the Settlement and from the Class. You must
    mail your exclusion request postmarked no later than ______, 2022, to:
    You can’t exclude yourself on the phone, on any website, or by email. Please keep a copy of
    any exclusion (or opting out) letter for your records.
    If you ask to be excluded, you cannot receive any benefits under this Settlement, and you
    cannot object to the Settlement. If you choose to be excluded or opt out, you will be excluded
    for all claims you have that are included in the Settlement. You will not be legally bound by
    anything that happens in this lawsuit. Depending on the laws in your state, you may be able
    to sue (or continue to sue) FCA US or other related entities or individuals in the future about
    the legal issues in this case.

 15. If I don’t exclude myself, can I sue for the same thing later?
     No. Unless you exclude yourself (opting out), you give up the right to sue FCA US and other
     related entities or individuals for the claims that this Settlement resolves. For a complete
     description of the claims that this Settlement resolves, please see Section __ of the Settlement
     Agreement, available at www.xxxxxxx.com.

    If you have a pending lawsuit against FCA US or related entities, speak to your lawyer in that
    lawsuit immediately. You must exclude yourself from this Class to continue your own lawsuit
    if it concerns the same legal issues related to the Class Vehicles and the alleged defect in this
    case, even if it involves other causes of action, including but not limited to, false advertising,
    deceptive practices, fraud, breach of implied or express warranties, lemon laws, unjust
    enrichment, strict product liability, and negligence. Remember, the exclusion deadline is
    _______, 2022.
    If you are a Class Member and you do nothing, you will remain a Class Member and all of the
    Court’s orders will apply to you, you will be eligible for the Settlement benefits described
    above as long as you satisfy the conditions for receiving each benefit, and you will not be able
    to sue FCA US over the issues in this lawsuit.



                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx.
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 16. If I exclude myself, can I get the benefits of this Settlement?
     No. If you exclude yourself, you cannot ask for any reimbursement; you will not receive an
     extended warranty for your vehicle; and, you will not be eligible to automatically receive a
     $340 cash payment if you receive an engine long block replacement as part of CSN W80. But
     you may sue, continue to sue, or be part of a different lawsuit against FCA US and other related
     entities or individuals for the claims that this Settlement resolves.

                               THE LAWYERS REPRESENTING YOU

 17. Do I have a lawyer in this case?
     The Court has appointed E. Powell Miller of the Miller Law Firm P.C., Steve W. Berman of
     Hagens Berman Sobol Shapiro, LLP, and Myles McGuire of McGuire Law P.C.to represent
     you and other Class Members. Together these lawyers are called Class Counsel.

    E. Powell Miller                                 Steve W. Berman
    Dennis A. Lienhardt                              HAGENS BERMAN SOBOL SHAPIRO, LLP
    MILLER LAW FIRM, P.C.                            1301 Second Avenue
    Rochester, MI 48307                              Suite 2000
    epm@millerlawpc.com                              Seattle, WA 98101
    dal@millerlawpc.com                              steve@hbsslaw.com

    Myles McGuire                                    Christopher R. Pitoun
    Eugene Y. Turin                                  HAGENS BERMAN SOBOL SHAPIRO, LLP
    MCGUIRE LAW, P.C.                                301 N. Lake Ave, Suite 920
    55 W. Wacker Dr., 9th Fl.                        Pasadena, CA 91101
    Chicago, IL 60601                                christopherp@hbsslaw.com
    mmcguire@mcgpc.com
    eturin@mcgpc.com

        PLEASE DO NOT SEND CLAIM FORMS TO THE ABOVE ATTORNEYS.
 18. How will the lawyers be paid, and will the Class Representatives receive service
     payments?
     At a later date, Class Counsel will ask the Court for attorneys’ fees, expenses, and service
     payments to each of the named Class Representatives. It will be up to the Court to decide
     whether FCA US will be ordered to pay any of those fees, expenses, and service payments.
     The Court may award less than the amounts requested by Class Counsel. FCA US will
     separately pay the fees and expenses and service payments that the Court awards. These
     amounts will not come out of the funds for payments to Class Members. Class Counsel will
     not seek more than $7,500,000 in fees and expenses or a service award of more than $3,000
     per named Class Representative. Class Counsel will file their motion for attorneys’ fees and
     expenses by _______, 2022. You may continue to check on the progress of Class Counsel’s
     request for attorneys’ fees, expense and service awards by visiting the settlement website
     www.xxxxxxxxx.com.

    FCA US will also separately pay the costs to administer the Settlement. The payment of
    Settlement administration costs will not come out of the fund for payments to Class Members.



                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx.
                                                 12
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                                OBJECTING TO THE SETTLEMENT

 19. How do I object to the Settlement?
     Any Class Member who has not successfully excluded themselves from the Class may object
     to the approval of the Settlement, to any aspect of the Settlement or the Settlement Agreement,
     to the application for attorneys’ fees and costs, and/or to the application for a Class
     Representative Award to Plaintiffs. To object, you must properly file any objection in the
     Action with the Clerk of Court of the United States District Court for the Eastern District of
     Michigan on or before [DATE] and must mail or hand-deliver a copy of the objection to Class
     Counsel and Counsel for FCA US at the addresses set forth below by that same date. To be
     timely, objections that are mailed must be postmarked by [DATE], and objections that are
     hand-delivered must be received by the Court, Class Counsels, and Counsel for FCA US by
     [DATE].

 Your objection letter must include:
    1. the name and title of the lawsuit, Amber Wood, et al. v. FCA US, LLC, No. 5:20-cv-11054
       (E.D. Mich.);
    2. a detailed written statement of each objection being made, including the specific reasons
       for each objection, and any evidence or legal authority to support each objection;
    3. your full name, address, and telephone number;
    4. the model year and VIN of your Class Vehicle;
    5. a statement of whether you or your lawyer will ask to appear at the Fairness Hearing to
       talk about your objections;
    6. any supporting papers, materials, exhibits, or briefs that you want the Court to consider
       when reviewing the objection;
    7. the identity of all counsel who represent you, including any former or current counsel
       who may be entitled to compensation for any reason related to your objection;
    8. a list of any other objections submitted by you or any of your counsel, to any class action
       settlements submitted in any court in the United States in the previous five years; and
    9. your signature and that of your attorney, if you have one, and the date of the objection.

    Submitting an objection allows Class Counsel or counsel for FCA US to notice your
    deposition and to seek any documentary evidence or other tangible things that are relevant to
    your objection. Failure to make yourself available for such a deposition or comply with
    expedited discovery requests may result in the Court striking your objection or denying you
    the opportunity to be heard. The Court may require you or your counsel to pay the costs of
    any such discovery should the Court determine the objection is frivolous or made for
    improper purpose.

    If you do not state your intention to appear in accordance with the applicable deadlines and
    specifications, or you do not submit an objection in accordance with the applicable deadlines
    and specifications, you will waive all objections and can be barred from speaking at the Final
    Approval Hearing.




                For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                  Administrator at 1-xxx-xxx-xxxx.
                                                 13
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 20. What is the difference between objecting and excluding?
     Objecting is simply telling the Court that you don’t like something about the Settlement. You
     can object only if you stay in the Class. Excluding yourself is telling the Court that you do
     not want to be part of the Class and the Settlement. You cannot both exclude yourself and
     object. If you choose to both exclude yourself and object, it will be treated as if you excluded
     yourself only. If you exclude yourself, you have no basis to object because the case no longer
     affects you.

                                THE COURT’S FAIRNESS HEARING

 The Court will hold a hearing to decide whether to approve the Settlement. You may attend and
 you may ask to speak, subject to the requirements above, but you don’t have to.

 21. When and where will the Court decide whether to approve the Settlement?
     The Court will hold a Fairness Hearing at ______ a.m. on ____, 2022, at the U.S. District
     Court for the Eastern District of Michigan, Ann Arbor Courthouse, 200 E. Liberty Street,
     Suite 300, Ann Arbor, MI 48104. At this hearing, the Court will consider whether the
     Settlement is fair, reasonable, and adequate. If there are objections, the Court will consider
     them. The Court will listen to people who have asked to speak at the hearing. The Court
     may also decide how much to pay Class Counsel and whether to approve the Class
     Representatives’ service awards. After the hearing, the Court will decide whether to finally
     approve the Settlement. We do not know how long these decisions will take.

    The hearing may be rescheduled without further notice to you, and may be conducted
    remotely, so it is recommended you periodically check www.xxxxxxxxx.com for updated
    information.

 22. Do I have to come to the Fairness Hearing?
     No. Class Counsel will answer any questions the Court may have. But you are welcome to
     come at your own expense. If you send an objection, you do not have to come to Court to
     talk about it. As long as you mailed a valid written objection on time, the Court will consider
     it. You may also attend or pay your own lawyer to attend, but it’s not necessary. Class
     Members do not need to appear at the hearing or take any other action to indicate their
     approval.

 23. May I speak at the Fairness Hearing?
     You may ask the Court’s permission to speak at the Fairness Hearing. To do so, you must
     send a letter saying that it is your “Notice of Intention to Appear in Amber Wood, et al. v.
     FCA US, LLC, No. 5:20-cv-11054 (E.D. Mich.)” or state in your objections that you intend
     to appear at the hearing. Be sure to include your name, address, telephone number, the model
     year and VIN for your Class Vehicle(s), and signature, as well as the identities of any
     attorneys who will represent you. Your Notice of Intention to Appear must be postmarked
     no later than ______, 2022, and be sent to Class Counsel and Defense Counsel whose
     addresses are provided below.




                 For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                   Administrator at 1-xxx-xxx-xxxx.
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                                        IF YOU DO NOTHING

 24. What happens if I do nothing at all?
     If you do nothing, you will remain a Class Members and be entitled to the benefits of the
     Extended Warranty (if you continue to own or lease your Class Vehicle) and/or receive the
     $340 cash payment if your vehicle received an engine long-block replacement under
     CSN W80. But you will never be able to file a lawsuit, continue a lawsuit, or be part of any
     other lawsuit against FCA US or other related entities or individuals about the legal issues in
     this case.

                                  GETTING MORE INFORMATION

 25. Are there more details about the Settlement?
     This notice summarizes the proposed Settlement. More details are in the Settlement
     Agreement, which you can view at www.xxxxxxxxx.com.

    Neither FCA US nor Class Counsel or the Class Representatives make any representation
    regarding the tax effects, if any, of receiving any benefits under this Settlement. Consult your
    tax adviser for any tax questions you may have.

 26. How do I get more information?
     You can call the Settlement Administrator at 1‑xxx‑xxx‑xxxx or write to them at __________
     or visit www.xxxxxxxxx.com, where you will find information and documents about the
     Settlement, a Claim Form, plus other information. You may also contact Class Counsel listed
     in response to Question 13.

    All papers filed in this Action are also available for review via the Public Access to Court
    Electronic Resources System (PACER), available online at http://www.pacer.gov.

 DO NOT WRITE OR TELEPHONE THE COURT, THE CLERK’S OFFICE, OR FCA US
 WITH ANY QUESTIONS ABOUT THIS NOTICE, THE SETTLEMENT, OR THE
 SETTLEMENT AGREEMENT.




                 For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                   Administrator at 1-xxx-xxx-xxxx.
                                                  15
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                         WHAT ARE THE ADDRESSES YOU MAY NEED

  Class Counsel
                                                         Steve W. Berman
  E. Powell Miller                                       HAGENS BERMAN SOBOL SHAPIRO, LLP
  Dennis A. Lienhardt                                    1301 Second Avenue
  MILLER LAW FIRM, P.C.                                  Suite 2000
  Rochester, MI 48307                                    Seattle, WA 98101
  epm@millerlawpc.com                                    steve@hbsslaw.com
  dal@millerlawpc.com
  Myles McGuire                                          Christopher R. Pitoun
  Eugene Y. Turin                                        HAGENS BERMAN SOBOL SHAPIRO, LLP
  MCGUIRE LAW, P.C.                                      301 N. Lake Ave, Suite 920
  55 W. Wacker Dr., 9th Fl.                              Pasadena, CA 91101
  Chicago, IL 60601                                      steve@hbsslaw.com
  mmcguire@mcgpc.com                                     christopherp@hbsslaw.com
  eturin@mcgpc.com

 Defense Counsel:

 Kathy A. Wisniewski
 Stephen D’Aunoy
 THOMPSON COBURN LLP
 One U.S. Bank Plaza, 26th Floor
 St. Louis, Missouri 63101

 Settlement Administrator:

 XXX
 XXX
 XXX




                  For more information, visit www.xxxxxxxxx.com, or call the Settlement
                                    Administrator at 1-xxx-xxx-xxxx.
                                                   16
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                            Exhibit C
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          A proposed settlement has been reached in a lawsuit alleging some vehicles manufactured by FCA US, LLC and equipped with
          a 2.4L Tigershark engine have an Oil Consumption Defect that causes them to consume abnormally high amounts of oil. The
          case is Wood, et al. v. FCA US, LLC, No. 5:20-cv-11054 (E.D. Mich.), currently pending in the Eastern District of Michigan.
          The proposed Settlement is not an admission of wrongdoing by FCA US, and FCA US denies it violated the law. The Court
          has not decided who is right or wrong. Rather, to avoid the time, expense, and uncertainty of going forward with the case, the
          parties have agreed to settle. That Settlement has been preliminarily approved by the Court.
          Settlement Benefits:
             (1) Warranty Extension: If you own or lease a Class Vehicle and do not opt out of the settlement class (see below), FCA US will extend
             the existing Powertrain Limited Warranty for excess oil consumption issues to 7 years or 100,000 miles, whichever is earlier.
             (2) Cash Reimbursement for Repair-Related Expenses: You may be entitled to reimbursement for any towing and/or rental car
             expenses you incurred in connection with repairing a condition caused by excess oil consumption. Details about submitting a qualifying
             claim can be found at [Settlement Website] or in the long-form notice.
             (3) Cash Reimbursement for Repairs: You may be entitled to reimbursement for out-of-pocket expenses you incurred repairing a
             condition caused by excess oil consumption. To submit a claim for out-of-pocket expenses, go to www.fcarecallreimbursement.com.
             (4) Cash Payment: You may also be entitled to an automatic cash payment of $340 if your vehicle is subject to Customer Service
             Notification W80 and had its engine block replaced due to a condition caused by excess oil consumption.
          To Opt-Out: If you do not wish to participate in the proposed Settlement, you must exclude yourself on or before
                       , 2022. Please visit [Settlement Website/opt-out] for more information.
          To Object: If you wish to object to the proposed settlement, you must take specific steps on or before                                 , 2022.
          Please visit [Settlement Website/object] for more information.
          The Court will hold a fairness hearing on                           , 2022 to consider whether to approve the proposed Settlement as well as
          Class Counsel’s application for fees and costs in an amount up to $7,500,000 for their work in the case, which would be paid by FCA US.
          The Court will also consider a Service Award payment of up to $3,000.00 for each Class Representative. You can appear at the hearing, but
          you do not have to. If you want, you can hire your own attorney, at your own expense, to appear or speak for you at the hearing. If the Court
          approves the proposed Settlement, which excludes claims for personal injury and property damage, you will not be able to sue for similar
          claims if you remain in the class.
                                 For more information, visit www.xxxxxxxx.com or call toll-free 1-xxx-xxx-xxxx
                                           Para una notificación en Español, visitar www.xxxxxxxx.com.


          Wood v. FCA US LLC
          Settlement Administrator
          P.O. Box _________
          City/State/Zip



           UNITED STATES DISTRICT COURT FOR
           THE EASTERN DISTRICT OF MICHIGAN

                       NOTICE OF PROPOSED CLASS
                             SETTLEMENT                                                     CLASS MEMBER NAME
                                                                                            CLASS MEMBER ADDRESS
             If you purchased or leased a 2015-2017 Chrysler                                CITY/STATE/ZIP
                200, 2013-2016 Dodge Dart, 2014-2019 Jeep
           Cherokee (manufactured prior to July 2018), 2015-
              2018 Jeep Renegade, 2017-2018 Jeep Compass,
            2015-2018 Ram Promaster City, or 2016-2018 Fiat
               500x vehicle equipped with a 2.4L Tigershark
             engine (“Class Vehicle”), a proposed class action
           settlement may affect your rights and entitle you to
           cash compensation. This is not a lawyer solicitation.




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                            Exhibit D
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 AMBER WOOD, et. al, individually and
 on behalf of all others similarly situated,   Case No. 5:20-cv-11054-JEL-APP

              Plaintiffs,                      District Judge Judith E. Levy

       v.                                      Magistrate Judge Anthony P. Patti

 FCA US LLC,

              Defendant.



      ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR
      PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

       Plaintiffs Amber Wood, Thomas Weiner, Karen Burke, Nick Gizzarelli, Guy

 West, Kyle Davis, Rebekah Aeren Wright, Catherin Coppinger, Kimberly Eager,

 Roberto Hernandez, Mikaelyn McDowell, Rosalind Burks, Holly Hickman, Amber

 Portugal, Michael Sanchez, Adam Dyer, Arteal Jordan, Vivien Nagy, Katlyn Wills,

 Cheryl Miller, Kelly Johnson, Holly Kundel, Ryan Hall, Danielle Coates, Kelsey

 Williams, Daniel Scott, Ryan Graham, Robert Johnston, Deborah Johnston,

 Michelle Schmid, Nathaneal Romanchuk, Nicolette Watson, Desiree Tarro, Pamela

 Anderson, Caren Christman, Joshua Caples, Luis Munoz, Sherri McCall, Krishawn

 Durham, Katie Kuczkowski, Daniel McGorrey, and Tera Castillo, and Defendant

 FCA US LLC (together, the “Parties”), by and through their undersigned attorneys,
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 hereby submit this proposed Stipulated Order for Preliminary Approval of Class

 Action Settlement:

       WHEREAS, the Court having reviewed and considered the Motion for

 Preliminary Approval and supporting materials filed by Settlement Class Counsel;

       WHEREAS, the Court held a hearing on the Motion for Preliminary Approval

 on _______________; and

       WHEREAS, this Court has fully considered the record and requirements of

 law; and good cause appearing;

       IT IS THIS ________ day of ___________, 2022 ORDERED that the

 Settlement is hereby PRELIMINARILY APPROVED. The Court further finds the

 order as follows:

       1.     The Court has subject matter jurisdiction under 28 U.S.C. § 1332(d),

 and venue is proper in this District.

       2.     The Court has personal jurisdiction over the Plaintiffs, Settlement Class

 Members, and the Defendant.

       3.     To the extent not otherwise defined herein, all defined terms in this

 Order shall have the meaning assigned in the Settlement Agreement.

       4.     The Settlement was the result of the Parties’ good-faith negotiations.

 The Settlement was entered into by experienced counsel and only after extensive

 arm’s length negotiations. The Settlement is not the result of collusion.



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       5.     The proceedings and discovery that occurred before the Parties reached

 the Settlement gave counsel the opportunity to adequately and assess this case’s

 strengths and weaknesses and thus to structure the Settlement in a way that

 adequately accounts for those strengths and weaknesses.

       6.     The Court has carefully reviewed the Settlement Agreement and finds

 that the Settlement is fair, reasonable, adequate and meets the standards for

 preliminary approval under Fed. R. Civ. P. 23(a) and (b). Accordingly, the Court

 preliminarily approves all terms of the Settlement and all of its Exhibits.

       7.     The Court conditionally certifies, for settlement purposes only, the

 following Settlement Class:

       All individuals who purchased or leased in the United States one of the
       following vehicles equipped with a 2.4L Tigershark engine: model
       years 2015-2017 Chrysler 200; model years 2013-2016 Dodge Dart;
       model years 2014-2019 Jeep Cherokee manufactured prior to July
       2018; model years 2015-2018 Jeep Renegade; model years 2017-2018
       Jeep Compass; model years 2015-2018 Ram Promaster City; and model
       years 2016-2018 Fiat 500x.

       Excluded from the Settlement Class are FCA US; any affiliate, parent, or

 subsidiary of FCA US; any entity in which FCA US has a controlling interest; any

 officer, director, or employee of FCA US; any successor or assign of FCA US; and

 any judge to whom this Action is assigned, his or her spouse; individuals and/or

 entities who validly and timely opt-out of the settlement; consumers or businesses

 that have purchased Class Vehicles previously deemed a total loss (i.e., salvage or



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 junkyard vehicles) (subject to verification through Carfax or other means); and

 current or former owners of a Class Vehicles that previously released their claims in

 an individual settlement with FCA US with respect to the issues raised in this case.

       8.     The Court hereby conditionally appoints the following Plaintiffs as

 Class Representatives for the Settlement Class: Amber Wood, Thomas Weiner,

 Karen Burke, Nick Gizzarelli, Guy West, Kyle Davis, Rebekah Aeren Wright,

 Catherin Coppinger, Kimberly Eager, Roberto Hernandez, Mikaelyn McDowell,

 Rosalind Burks, Holly Hickman, Amber Portugal, Michael Sanchez, Adam Dyer,

 Arteal Jordan, Vivien Nagy, Katlyn Wills, Cheryl Miller, Kelly Johnson, Holly

 Kundel, Ryan Hall, Danielle Coates, Kelsey Williams, Daniel Scott, Ryan Graham,

 Robert Johnston, Deborah Johnston, Michelle Schmid, Nathaneal Romanchuk,

 Nicolette Watson, Desiree Tarro, Pamela Anderson, Caren Christman, Joshua

 Caples, Luis Munoz, Sherri McCall, Krishawn Durham, Katie Kuczkowski, Daniel

 McGorrey, and Tera Castillo.

       9.     The Court finds that the Class Representatives will fairly and

 adequately protect and represent the interests of all members of the Settlement Class

 and the interests of the Class Representatives are not antagonistic to those of the

 Settlement Class. The Class Representatives are represented by counsel who are

 experienced and competent in the prosecution of complex class action litigation.




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       10.    The Court has reviewed and finds that the content of the proposed forms

 of Notice attached as Exhibits B and C to the Settlement Agreement, which are to

 be displayed, along with the Settlement Agreement and its Exhibits, on the

 Settlement Website, satisfy the requirements of Fed. R. Civ. P. 23(c)(2), Fed. R. Civ.

 P. 23(e)(1), and Due Process and accordingly approves the Notice and Claim Form.

       11.    The Court further approves the proposed methods for giving notice of

 the Settlement to members of the Settlement Class, as reflected in the Settlement

 Agreement. The Court has reviewed the plan for distributing Notice to the

 Settlement Class and finds that Settlement Class members will receive the best

 notice practicable under the circumstances. The Court specifically approves the

 Parties’ proposal that on an agreed upon date with the Settlement Administrator, but

 in no event more than ninety (90) days after entry of the Preliminary Approval Order,

 the Settlement Administrator shall cause individual Short Form Class Notice,

 substantially in the form attached to the Settlement Agreement as Exhibit C, to be

 mailed, by first class mail, to the current or last known addresses of all reasonably

 identifiable Settlement Class Members. The Court specifically approves the

 procedures set forth in the Settlement Agreement for identifying Settlement Class

 Members and notifying Settlement Class Members whose initial mailings are

 returned undeliverable. The Court finds that these procedures, carried out with

 reasonable diligence, will constitute the best notice practicable under the



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 circumstances and will satisfy the requirements of Fed. R. Civ. P. 23(c)(2) and Fed.

 R. Civ. P. 23(e)(1) and Due Process.

       12.    The Court preliminary finds that the following counsel fairly and

 adequately represent the interests of the Settlement Class and hereby conditionally

 appoints The Miller Law Firm, P.C., Hagens Berman Sobol Shapiro, LLP, and

 McGuire Law, P.C. as Co-Lead Class Counsel and McCune Wright Arevalo, LLP,

 Sauder Schelkopf, and Berger Montague P.C. as Plaintiffs’ Steering Committee

 Class Counsel.

       13.    The Court directs that pursuant to Fed. R. Civ. P. 23(e)(2), a Fairness

 Hearing will be held on _______________________________ [at least 180 days

 after entry of Preliminary Approval Order], to consider final approval of the

 Settlement (the “Fairness Hearing” or “Final Approval Hearing”) including, but not

 limited to, the following issues: (1) to determine whether to grant final approval to

 (a) the certification of the Settlement Class, (b) the designation of Plaintiffs as

 representatives of the Settlement Class, (c) the designation of Class Counsel as

 counsel for the Settlement Class, and (d) the settlement; (2) to rule on Class

 Counsel’s request for an award of attorneys’ fees and reimbursement of costs and

 for Service Awards to Class Representatives; and (3) to consider whether to enter

 the Final Approval Order. The Fairness Hearing may be adjourned by the Court and

 the Court may address matters set out above, including final approval of the



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 Settlement, without further notice to the Settlement Class other than notice that may

 be posted at the Court and on the Court’s and Settlement Claims Administrator’s

 websites.

       14.    The Court directs that no later than fourteen (14) days prior to the

 Fairness Hearing, Class Counsel shall file all memoranda, including affidavits,

 declarations, and other evidence in support of the request for final approval of the

 Settlement; Class Counsels’ request for approval of attorneys’ fees, costs, and

 reimbursement of expenses; and the request for Service Awards to the individual

 Named Plaintiffs. The Court further directs that no later than seven (7) days prior to

 the Fairness Hearing, Class Counsel shall file any supplemental memoranda

 addressing any objections and/or opt-outs.

       15.    Persons wishing to object to the proposed Settlement and/or be heard

 at the Fairness hearing shall follow the following procedure:

                    (a)    To object, a member of the Settlement Class, individually

              or through counsel, must file a written objection with the Court, and

              must also serve a copy thereof upon the following, postmarked no later

              than _______ days after the Notice Date:




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                Counsel for Plaintiffs:
                E. Powell Miller
                Dennis A. Lienhardt
                The Miller Law Firm, P.C.
                950 W. University Dr., Suite 300
                Rochester, MI 48307

                Steve W. Berman
                HAGENS BERMAN SOBOL SHAPIRO, LLP
                1301 Second Avenue
                Suite 200
                Seattle, WA 98101

                Christopher R. Pitoun
                HAGENS BERMAN SOBOL SHAPIRO, LLP
                301 N. Lake Ave, Suite 920
                Pasadena, CA 91101

                Myles McGuire
                Eugene Y. Turin
                MCGUIRE LAW, P.C.
                55 W. Wacker Dr., 9th Floor
                Chicago, IL 60601

                Counsel for Defendant:
                Stephen A. D’Aunoy
                THOMPSON COBURN LLP
                505 N. 7th St.
                One US Bank Plaza
                St. Louis, Missouri 631010

                Settlement Administrator:

                [insert]

                   (b)     Any objecting Settlement Class Member must include

             with his or her objection:



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                   i.     The case name and number, Amber Wood, et al. v. FCA

                          US LLC, No. 20-cv-11054 (E.D. Mich.);

                   ii.    The objecting Settlement Class Member’s full name,

                          current address, and current telephone number;

                   iii.   The model year and VIN of his/her/its Class Vehicle(s);

                   iv.    A statement of the objection(s), including all factual and

                          legal grounds for the position;

                   v.     Copies of any documents the objector wishes to submit in

                          support;

                   vi.    The name and address of the attorney(s), if any, who is

                          representing the objecting Settlement Class Member in

                          making the objection or who may be entitled to

                          compensation in connection with the objection;

                   vii.   A statement of whether the Class Member objecting

                          intends to appear at the Final Approval Hearing, either

                          with or without counsel;

                   viii. The identity of all counsel (if any) who will appear on

                          behalf of the objecting Class Member and all persons (if

                          any) who will be called to testify in support of the

                          objection;



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                   ix.    The signature of the Class Member objecting, in addition

                          to the signature of any attorney representing the objecting

                          Class Member in connection with the objection; and

                   x.     The date of the objection.

             In addition, any Class Member objecting to the Settlement shall provide

             a list of any other objections submitted by the objector, or the objector’s

             counsel, to any class action settlements submitted in any court in the

             United States in the previous five years. If the Class Member or his or

             her counsel has not made any such prior objection, the Class Member

             shall affirmatively so state in the written materials provided with the

             objection.

                   (c)    Subject to the approval of the Court, any objecting

             Settlement Class Member may appear, personally or by counsel, at the

             Fairness Hearing to explain why the proposed settlement should not be

             approved as fair, reasonable, and adequate, or to object to any motion

             for Class Counsel Fees and Expenses or incentive awards. Any

             Settlement Class Member who does not provide a notice of intention to

             appear at the hearing in accordance with the deadlines and other

             specifications set forth in the Settlement Agreement and Notice, or who

             has not filed an objection in accordance with the deadlines and other



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              specifications set forth in the Settlement Agreement and the Notice,

              may be deemed to have waived any objections to the Settlement and

              any adjudication or review of the Settlement, by appeal or otherwise.

                    (d)    Any Class Member who does not make his, her, or its

              objection in the manner provided herein shall be deemed to have

              waived his, her, or its right to object to any aspect of the proposed

              Settlement and/or Class Counsel’s motion for attorneys’ fees and

              reimbursement of litigation expenses. Such Class Member shall forever

              be barred and foreclosed from objecting to the fairness, reasonableness,

              or adequacy of the Settlement, or the requested attorneys’ fees and

              litigation expenses, and otherwise from being heard concerning the

              Settlement, or the attorneys’ fees and expenses request in this or any

              other proceeding.

       16.    The Court appoints _________ as the Settlement Administrator. The

 Parties are hereby authorized to retain the Settlement Administrator to supervise and

 administer the Notice procedure as well as the processing of Claims.

       17.    All Settlement Class Members shall have the right to opt out of the

 Settlement Class at any time during the opt-out period. The opt-out period shall run

 for forty-five (45) days from the Notice Date. Any Settlement Class Member who

 elects to opt out of the Settlement Class (i) shall not be bound by any orders or



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 judgments entered in this Action; (ii) shall not be entitled to relief under, or be

 affected by, the Settlement Agreement; (iii) shall not gain any rights by virtue of this

 Settlement Agreement; and (iv) shall not be entitled to object to any aspect of this

 Settlement Agreement. Any Settlement Class Member who wishes to opt out of the

 Settlement Class may do so by submitting a request for exclusion (“Request for

 Exclusion”) to the Settlement Claims Administrator as provided in the Notice. To

 be effective, the Request for Exclusion must be sent via first-class U.S. mail to the

 specified address and shall state:

                     i.     The Settlement Class Member’s full name and current

                            address;

                     ii.    The model year and Vehicle Identification (“VIN”) of

                            his/her/its Class Vehicle(s) and the approximate date(s) of

                            purchase or lease; and

                     iii.   His/her/its desire to be excluded from the Settlement and

                            from the Settlement Class.

 Any Class Member who submits a timely Request for Exclusion may not file an

 objection to the Settlement and shall be deemed to have waived any rights or benefits

 under the Settlement Agreement. The Settlement Administrator shall report the

 names of all Class Members who have submitted a Request for Exclusion to the

 Parties on a weekly basis, beginning 30 days after the Notice Date. The Settlement



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 Administrator shall also report a final tabulation of the names and addresses of such

 entities and natural persons to the Court and to Class Counsel no less than seven (7)

 days before the Fairness Hearing.

       18.    Any member of the Settlement Class failing to properly and timely mail

 such a written Request for Exclusion shall be automatically included in the

 Settlement Class and shall be bound by all of the terms and provisions of the

 Settlement Agreement, including but not limited to the release, and the Final Order

 and Judgment.

       19.    Upon Final Approval of the Settlement, all Settlement Class Members

 who do not timely and properly opt out of the Settlement shall be deemed to have,

 and by operation of the Final Order and Judgment shall have, fully and completely

 released, acquitted and discharged the Released Parties from all Released Claims as

 set forth in the Settlement Agreement, and the Action will be deemed dismissed with

 prejudice.

       20.    In the event that the Settlement Agreement is not finally approved, this

 Preliminary Approval Order shall be rendered null and shall be vacated, and all

 orders entered and releases delivered in connection herewith shall be null and void

 to the extent provided by and in accordance with the Settlement Agreement. If the

 Settlement Agreement is not finally approved, the Defendant and any other

 Releasees shall have retained any and all of their current defenses and arguments



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 thereto (including but not limited to arguments that the requirements of Fed. R. Civ.

 P. 23(a) and (b)(3) are not satisfied for purposes of continued litigation). This action

 shall thereupon revert immediately to their respective procedural and substantive

 status prior to the date of execution of the Settlement Agreement and shall proceed

 as if the Settlement Agreement and all other related orders and papers had not been

 executed.

       21.    The Court shall retain continuing jurisdiction over the Action, the

 Parties and the Settlement Class, and the administration, enforcement, and

 interpretation of the Settlement. Any unresolved disputes or controversies arising

 with respect to the Settlement shall be presented by motion to the Court, provided

 however, that nothing in this paragraph shall restrict the ability of the Parties to

 exercise their rights as described above.

       22.    Pending final determination of the Settlement Agreement, all

 proceedings in this Litigation other than settlement approval proceedings shall be

 stayed.

       IT IS SO ORDERED.



 Dated: ______________________           By: _______________________________
                                         Judge Judith E. Levy
                                         United States District Judge




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